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                 Exhibit A             *
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            INC., dba EXTREME ENTERTAINMENT
          8

          9                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

         10                     COUNTY OF LOS ANGELES, CENTRAL DISTRICT
 :i::
 u       11 THE PERFECT EVENT INC., a California            Case No.:
                                                                         BC549408

~
            Corporation dba EXTREME
         12 ENTERTAINMENT,                                  COMPLAINT FOR DAMAGES AND
                                                            INJUNCTIVE RELIEF:
         13                Plaintiff,
0                                                           1.    MISAPPROPRIATION OF TRADE
 ~       14         vs.                                           SECRETS - STATUTORY;
 '""                                                        2.    MISAPPROPRIATION OF TRADE
 ~
i:Q
         15 KOREY BOSWORTH an Individual; TODD
            DIAMOND an Individual; THE                      3.
                                                                  SECRETS- COMMON LAW;
                                                                  UNFAIR COMPETITION -
         16 NORTHWESTERN MUTUAL LIFE                              STATUTORY;
            INSURANCE COMPANY, a                            4.    UNFAIR COMPETITION -
         17 Wisconsin Corporation; SUPREME GREEKS                 COMMON LAW;
            dba SD GREEK LIFE, a business entity, form      5.    BREACH OF WRITTEN
         18 unknown; and DOES 1 through 50, Inclusive,            CONTRACT;
                                                            6.    BREACH OF IMPLIED CONTRACT;
         19                Defendants.                      7.    CONVERSION;
                                                            8.    INTENTIONAL INTERFERENCE
         20                                                       WITH PROSPECTIVE ECONOMIC
                                                            9.    NEGLIGENT INTERFERENCE
         21                                                       WITH PROSPECTIVE ECONOMIC
                                                                  ADVANTAGE;
         22                                                 10.   BREACHOFDUTYOF LOYALTY;
                                                            11.   CONSPIRACY;
         23                                                 12.   VIOLATION OF COMPUTER
                                                                  FRAUD AND ABUSE ACT;
         24                                                 13.   TRADEMARK INFRINGEMENT;
                                                            14.   BREACH OF FIDUCIARY DUTY;
         25                                                 15.   BREACH OF SUITABILITY;
                                                            16.   VIOLATION OF INVESTMENT
         26                                                       ADVISOR'S ACT;

         27                                                 DEMAND FOR TRIAL BY JURY

         28        Plaintiff THE PERFECT EVENT INC., dba EXTREME ENTERTAINMENT ("Plaintiff'
                                                EXHIBIT A
                                                   18
                                    COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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          1 or "Extreme") hereby files its Complaint against KOREY BOSWORTH; TODD DIAMOND;
          2 THE NORTHWESTERN MUTUAL LIFE INSURANCE COMPANY, and SUPREME GREEKS
          3 dba SD GREEK LIFE (collectively "Defendants"), as follows:
          4                                   JURISDICTION AND VENUE

          5          1.      This judicial district is the proper venue for this action because a written

          6   agreement upon which this Complaint is based required performance in this judicial district, and
  5       7   the wrongful acts underlying this action were committed in this judicial district. The State of

 j        8   California has jurisdiction over Defendants because each resides or conducts business in the State

r,{j      9   of California, and their wrongful conduct occurred and continues to date in the State of
  G1     10   California.
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         11                                            THE PARTIES

         12          2.      Plaintiff THE PERFECT EVENT INC., dba EXTREME ENTERTAINMENT

         13   ("Plaintiff' or "Extreme") is a corporation duly organized under the laws of the State of

         14   California. Extreme is authorized to conduct business in California.

         15          3.      Plaintiff is informed and believes that Defendant KOREY BOSWORTH

         16   ("Bosworth") is an individual residing in the County of Los Angeles, State of California, who

         17   conducts business in California as a co-owner of SUPREME GREEKS dba SD GREEK LIFE

         18   ("Supreme Greeks") operating in the County of San Diego, State of California. Bosworth also

         19   conducts business in California as a financial representative for N.ORTHWESTERN MUTUAL

         20   LIFE INSURANCE COMPANY ("Northwestern"), at 515 S Flower St Fl 33, Los Angeles, CA

         21   90071-2201 in the County of Los Angeles, State of California.

         22          4.      Plaintiff is informed and believes that Defendant TODD DIAMOND ("Diamond")

         23   is an individual residing in the County of San Diego, State of California. Diamond was an

         24   employee of Extreme until his resignation on or about January 15, 2014, at which time Plaintiff is

         25   informed and believes that he became an equity partner of Supreme Greeks.

         26          5.      Plaintiff is informed and believes that Defendant Northwestern is a corporation

         27   duly organized under the laws of the State of Wisconsin. Northwestern is authorized to conduct

         28   business in California, and its agent for service of process is located at 1425 River Park Drive,
                                                    EXHIBIT A
                                                       19   2
                                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        1   Suite 100, Sacramento, California 95815, in the County of Sacramento, State of California.

        2   Plaintiff is informed and believes and thereon alleges that at all times herein mentioned Bosworth

        3   had an agency relationship with Northwestern, and Northwestern placed him in a position of trust

        4   and confidence, and provided him authority to elicit information from Plaintiff.

        5           6.        Each ofNorthwestern's principles, managers, and managing agents authorized,

        6   ratified and/or directly participated in the acts alleged herein.

        7           7.        Plaintiff is informed and believes that Defendant Supreme Greeks is a business


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            entity, form unknown, and is authorized to do business in the State of California. Each of its

            principles, managers, managing agents, authorized, ratified and/or directly participated in the acts
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>-1    10   alleged herein.

~      11           8.        Plaintiff is ignorant of the true names and capacities, whether individual, associate,
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       12   partnership, corporate, or otherwise, of the Defendants designated herein as Does 1 through 50,

       13   inclusive, and therefore sues those Defendants by these fictitious names. Plaintiff is informed

       14   and believes, and on that basis alleges, that Does 1 through 50, in some way unknown to Plaintiff,

       15   are responsible for the acts and omissions alleged in this Complaint and have incurred liability to

       16   Plaintiff therefore. Plaintiff will amend this Complaint to allege the true names and capacities of

       17   Does 1 through 50 upon discovery thereof.

       18           9.        Plaintiff is informed and believes and thereon alleges that at all times herein

       19   mentioned each of the Defendants was the agent and employee of each of the remaining

       20   Defendants, and in doing the things hereinafter alleged, was acting within the course and scope of

       21   such agency and employment. Each of its principles, managers, managing agents, authorized,

       22   ratified and/or directly participated in the acts alleged herein.

       23                                       GENERAL ALLEGATIONS

       24          A.      Plaintiff's Business.

       25           10.       Plaintiff provides event planning and production services marketed specifically to

       26   college and university groups in Southern California. These groups have very particular needs

       27   when conducting events, including transportation, photography and video services,

       28   lighting/sound/staging, security staff, and venues. Plaintiff developed a confidential and
                                                     EXHIBIT A
                                                        20 3
                                      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
         Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 5 of 89 Page ID #:995



            1   proprietary method of providing and consolidating these services by establishing specialized

            2   relationships and contractual agreements with their service providers. The niche Plaintiff created

            3   was to establish a one-stop shop such that the group desiring such services could contract with

            4   Plaintiff, who would then provide or subcontract all of the services. Plaintiff spent over a decade

            5   establishing relationships with these specialized vendors, obtaining specialized licenses

            6   (including, but not limited to, a Private Patrol Operator's license), appropriate insurances, and
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            7   purchasing and storing specialty equipment. Plaintiffs efforts resulted in a multi-million dollar

j           8   company with a substantial enterprise value. Clients with which Plaintiff has contracted to

0           9   provide services have been and are loyal to Plaintiff because Plaintiff is familiar with, and has

 ~         10   extensive experience and knowledge in this specialized area of service.
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           11           11.    Among the more difficult issues in achieving success in Plaintiff's industry is

           12   locating transportation vendors and venue managers who are willing to serve the college

           13   community. In fact, the identification of these companies and the relationships Plaintiff has

           14   established with the individuals employed by such vendors in Southern California is one of

           15   Plaintiffs most carefully guarded trade secrets. Plaintiff worked long and hard to establish,

           16   maintain, and guard these relationships as well as the specific terms and conditions it has

           17   negotiated with such vendors.

           18           12.    Plaintiff has invested substantial time, effort, and money to develop both a

           19   customer list and substantial contacts and relationships with numerous venues, clients, and

           20   potential clients, in Southern California, including, but not limited to San Diego County. Plaintiff

           21   has also spent significant time and expense in its employee recruiting efforts in order to provide

           22   quality staff and managers to service Plaintiffs clients.

           23           13.    An integral part of Plaintiffs business is the identification and retention of those

           24 employees, customers and clients who seek specialized event planning services.
           25           14.    In order to identify and retain clients, Plaintiff seeks to develop client loyalty by

           26 expending substantial efforts and resources to establish goodwill and relationships.
           27           15.    The market for such specialized event planning services is limited.

           28           B.    Plaintiff's Trade Secrets and Confidential Information.
                                                      EXHIBIT A
                                                         21    4
                                       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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         1           16.     In order to efficiently and profitably run its business, Plaintiff necessarily uses

         2 substantial confidential and proprietary information and trade secrets, including detailed customer
         3 lists, vendor lists, venue lists, billing rates, and employee information.
         4           17.     Plaintiff has invested significant amounts of time, energy, money, and resources to

         5   the development of proprietary and confidential information, including, but not limited to,

         6   compensation data, customer lists, vendor lists, venue lists, financial information, marketing
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 u       7   strategies, pending projects and proposals, research and development strategies, technological
 ~       8   data, company philosophy, methods of operation, pricing structures, staffing models, employee
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c(j      9   training procedures and manuals, security plans, billing practices, price models, and staffing

 ~      10   models (collectively, "Trade Secrets and Confidential Information"). Plaintiff has also worked
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        11   intensely on establishing relationships with customers and vendors which are reflected in

        12   confidential documents. The relationships with customers and vendors cultivated over a period

        13   oftime is in the nature of a proprietary interest that can be protected.

        14           18.     Plaintiffs Trade Secrets and Confidential Information provide Plaintiff with a

        15   competitive advantage because the information enables Plaintiff to focus its business on

        16   customers and clients who are likely to become repeat business, refer other customers and clients,

        17   and further enable Plaintiff to grow its business. Furthermore, Plaintiff expends a significant

        18   amount of effort, time, money, and resources developing goodwill and client relationships. Some

        19   clients have specific preferences, which are recorded by Plaintiff to ensure the best service

        20   possible to a particular client. The security officers, DJs, videographers, supervisors, and

        21   operations managers employed by Plaintiff are necessarily aware of these private arrangements

        22   and can unfairly exploit these arrangements if they work for a competitor, or attempt to convince

        23   clients to cease doing business with Plaintiff.

        24          C.      Defendants' Wrongful Conduct.

        25                  1.     BOSWORTH:

        26           19.     Several years ago, Bosworth worked for Plaintiff as a security officer. During his

        27   employment, he was exposed to Plaintiffs business practices and methodology, yet he was

        28   screened from the most sensitive information of Plaintiffs operations.
                                                    EXHIBIT A
                                                       22 5
                                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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             1          20.     Sometime later, Bosworth pursued a career in financial services and was hired by

             2   Northwestern as a financial representative. Beginning in or around June 2013, Bosworth began a

             3   concerted effort to solicit Plaintiffs business. At first, it appeared as if Bosworth was simply

             4   aggressively marketing Northwestern's financial services. It was later determined that he was

             5   actually trying to build his own business to compete with Plaintiff by obtaining confidential

             6   infonnation and the offer of financial services was merely a ruse. In fact, the offer came at least

 "'u:::l     7   six (6) months after Bosworth and Diamond began their conspiracy against Plaintiff.
 ~           8          21.     Bosworth contacted Plaintiff's owner Dan Wilson ("Wilson") on numerous
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0            9   occasions to schedule a meeting with him. Bosworth stated the purpose of the meeting was to see
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 ::J        10   what, if any, financial services Northwestern could offer Plaintiff. In response, Wilson advised
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 ;:i        11   that Plaintiff already had a financial services representative. Nevertheless, Bosworth was
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            12   undaunted and after numerous solicitations, convinced Wilson to meet in order to detennine what

            13   financial services Northwestern could offer.

            14          22.     On July 15, 2013, Wilson met with Bosworth and another agent of Northwestern,

            15   James Verzino ('Verzino"). Prior to the meeting, Wilson was instructed to bring numerous

            16   documents with him related to Plaintiffs business operations. Wilson attended the meeting in

            17   good faith with the understanding that any matters discussed would remain confidential.

            18   However, Bosworth attended the meeting with ulterior motives. Despite the ethical and legal

            19   obligation to do so, neither Bosworth nor Verzino disclosed that Bosworth had an actual and

            20   material conflict of interest in the form of an existing competing business, or that Bosworth was

            21   already working with one of Plaintiff's employees, Diamond.

            22          23.     In the years since Bosworth left his employment with Plaintiff, he opened a

            23   competing business by duplicating Plaintiff's business model in every detail. The Perfect Event,

            24   Inc. operates under the trade name "Extreme Greeks." Bosworth operates his business Supreme

            25   Greeks under the trade name "Supreme Greeks." A review of their two (2) websites reveals that

            26   the business models are virtually identical.

            27          24.     At the July 15, 2013 meeting, Bosworth queried Wilson on the most confidential

            28   and intimate details of Plaintiff's business operations and practices. Among the topics Wilson
                                                         EXHIBIT A
                                                             23     6
                                        COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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  1   was urged to disclose were: identification of key employees; salaries of key employees; volume

 ·2   and profit figures; cost of services; expansion plans; marketing strategies; identification of key

  3   vendors, including photographers, security staff, videographers, venues, and transportation

  4   companies; equipment Extreme owned, and was intending on acquiring to be used during events;

  5   location and detailed terms of the relationship between Extreme and the very limited pool of

  6   venues that Extreme works with; and detailed aspects of how Extreme conducts its business

  7   affairs. Of particular note was the repeated questioning of Wilson regarding Extreme' s San Diego

  8   operations, including how long it took the company to train one of its most valued employees,

  9   Diamond to manage that office.

 10           25.        Wilson was reluctant to share this information because these details are highly

 11   confidential and were developed over many years of concerted and directed effort. After

 12   repeated questioning, Wilson made these disclosures confidentially, and with the reasonable

 13   expectation that the disclosures would not be used against him or Plaintiff. Such disclosures were

 14   revealed with the belief that Bosworth was helping Plaintiff cultivate specific employee

 15   retirement, incentive, and retention plans through a deferred payout account, centralized health

 16   insurance, HSA's and other financial tools. Certainly, had Wilson known that the very individual

 17   to whom he was making such disclosures was operating a competing business, he never would

 18   have done so.

 19           26.        Over the following months, Bosworth began to expand his competing business in

 20   earnest once he had tricked Wilson into disclosing the roadmap about how the business could

 21   operate and grow. It is noteworthy that Supreme Greeks initially focused its operations in Texas.

 22   However, shortly after the July 15, 2013 meeting, Supreme Greeks commenced operations in San

 23   Diego, California. The very same market in which Plaintiff had worked to establish for over

 24   three (3) years.

 25           27.        Bosworth also wronged Plaintiff by directly soliciting Extreme' s San Diego

 26   manager, Diamond to join Bosworth's competing business. It appears Bosworth and Diamond

 27   have been in contact since January 2013, while Diamond was still employed by Plaintiff. On or

 28   about January 15, 2014, Diamond abruptly resigned from Extreme. Bosworth is currently
                                               EXHIBIT A
                                                  24 7
                                COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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          1   attempting to usurp each and every one of Extreme's clients in the San Diego area and convince

          2   Extreme's employees to terminate their business relationships with Extreme.

          3          28.     Confidential information was disclosed to Bosworth by a combination of Diamond

          4   violating the terms of his trade secret and nondisclosure agreement and information that Wilson

          5   disclosed to Bosworth while Bosworth was pretending to offer financial advice and services.

          6   There is little doubt that Diamond and Bosworth conspired to irreparably damage Plaintiff.



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          8          29.
                            2.     DIAMOND:

                             Diamond was a key employee of Plaintiff, who eventually became manager of

vD        9   Plaintiffs San Diego branch. At all times he owed a duty of loyalty to Plaintiff.
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 ::Jp    10          30.     On or about January 4, 2010, Diamond executed an agreement entitled Employee
 ~       11   Non-Disclosure Agreement (the "Agreement"). Under the Agreement, he promised to refrain
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         12   from misappropriating Extreme's confidential information, using its trade secrets, and soliciting

         13   its employees and clients. (Attached hereto as Exhibit "A.")

         14          31.     It has since become clear that Diamond violated numerous terms of the

         15   Agreement, as well as California law. Diamond contacted numerous clients, employees, and

         16   vendors of Extreme in an attempt to divert business. Diamond was working for Supreme Greeks

         17   at the same time that he was working for Extreme, and he hijacked Extreme's entire business

         18   model in direct violation of the Agreement.

         19           32.    On or about January 15, 2014, Diamond abruptly resigned from Extreme. At the

         20   time, Diamond stated that he was planning to move to Texas to pursue a another employment

         21   opportunity. However, he was uncharacteristically tight-lipped about who he would be working

         22   for and in what industry. In an effort to retain Diamond, Wilson attempted to renegotiate the

         23   terms of his employment and offered him a substantial salary increase. On or about January 14,

         24   2014, Diamond agreed remain working for Extreme, but the following day Diamond reversed

         25   himself and resigned a second time.

         26          33.     At the time of his resignation, Diamond indicated that he was becoming an equity

         27   partner in a business in Texas. It has since been discovered that he instead became an equity

         28   partner of Supreme Greeks, and at all times following his resignation acted in his individual
                                                    EXHIBIT A
                                                       25    8
                                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        1    capacity, and on behalf of Supreme Greeks.

        2           34.      Also in January 2014, Diamond's assistant manager Chris Johnson indicated that

        3    Diamond was working with Bosworth and Supreme Greeks. In addition, Wilson found emails to

         4   and from Diamond's company email address showing evidence of him working for Supreme

         5   Greeks while he was employed by Extreme in violation of California Labor Code. Section 2863.

         6   Moreover, continuing emails sent to Diamond's account indicate that he has taken events that he
 ~
 u       7   started planning while at Extreme, and unlawfully converted them for the benefit of Supreme
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 ~       8   Greeks.
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c:j      9          35.      Diamond has contacted Extreme's San Diego clients and vendors and converted

 ~      10   these business opportunities to Supreme Greeks. Diamond has also recruited employees of
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        11   Extreme such as Chris J olmson to work for Supreme Greeks. Moreover, Diamond may have

        12   transmitted Extreme' s insurance and PPO license information to prospective clients of Supreme

        13   Greeks.

        14             36.    Diamond, and/or a professional hired by Diamond, intentionally deleted client

        15   information and other confidential data from Extreme's main computer at its San Diego location.

        16   It appears that on or about January 20, 2014, five (5) days after Diamond resigned, the

        17   computer's hard drive was entirely wiped clean and a new operating system installed, leaving

        18   recovery of any data virtually impossible. These acts were performed by Diamond in his

        19   individual capacity, and on behalf of Supreme Greeks.

        20             37.    Diamond also converted Plaintiff's property, specifically a Dell computer that was

        21   purchased by Plaintiff for use in their San Diego office. Upon Diamond's resignation the

        22   computer was not returned to Plaintiff, and Plaintiff is informed and believes that Diamond

        23   converted it to his own use and the use of Supreme Greeks.

        24                   3.     NORTHWESTERN:

        25             38.    Plaintiff is informed and believes that Bosworth is a financial representative in an

        26   agency relationship with Northwestern. Plaintiff is informed and believes that financial

        27   representatives owe a fiduciary duty to clients and potential clients. At the very least, financial

        28   representatives must meet a suitability standard and their recommendations must be consistent
                                                    EXHIBIT A
                                                       26    9
                                      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
     Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 11 of 89 Page ID #:1001



        1    with their customers' best interests, not the representative's own financial benefit. Bosworth

        2    made no efforts to conceal his affiliation with Supreme Greeks from Northwestern. Moreover, it

        3    appears that Verzino and Northwestern were fully aware ofBosworth's competing business well

         4   in advance of the meeting with Wilson. Verzino, as a licensed agent, had an obligation to

         5   investigate who he and Bosworth were meeting with and advise Wilson of the conflict of interest

         6   before the disclosures were made.
 ti      7          39.     Northwestern and its financial representatives are required to keep clients' and
 ~       8   potential clients' information confidential. Plaintiffs confidential information and documents
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0        9   should have only been used within the context of Northwestern providing financial services and
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 >--1   10   advice. Instead, Bosworth failed to keep the information he learned in his financial representative
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 ;;l    11   capacity confidential, and instead disclosed the information to others and used it for his
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        12   competing business, Supreme Greeks.

        13          40.     Northwestern failed to provide adequate training to both Bosworth and Verzino

        14   about their fiduciary and ethical obligations as well as their disclosure duties to potential clients.

        15   Bosworth intentionally concealed his conflict of interest from Plaintiff, and appropriated the

        16   Trade Secrets and Confidential Information of a potential client for his own use. Bosworth's acts

        17   were committed within the course and scope of his agency relationship with Northwestern.

        18                  4.      SUPREME GREEKS:

        19          41.      Supreme Greeks operates based on Trade Secrets and Confidential Information

        20   unlawfully extracted from Wilson by one of the owners of Supreme Greeks, Bosworth, who

        21   posed as a fiduciary financial representative. Furthermore, Supreme Greeks induced Diamond to

        22   breach his agreement with a competitor, made him an equity partner, and has profited from

        23   Diamond's inside information. Supreme Greeks was on notice that Diamond had unlawfully

        24   misappropriated client lists, business models, and other trade secrets, and any use of that

        25   information by Supreme Greeks subjects it to liability. Supreme Greeks has been using

        26   Plaintiffs business model, and has contacted Plaintiffs clients and venues and inferred with

        27   existing business relationships. Supreme Greeks has profited from Plaintiff's trade secrets, and

        28   has demonstrated a variety of unfair and unlawful business practices.
                                                    EXHIBIT A
                                                       27 10
                                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        1                                      FIRST CAUSE OF ACTION

        2   (Misappropriation of Trade Secrets-Statntory Against Diamond, Bosworth, and Supreme Greeks)

        3           42.     Plaintiff re-alleges and incorporates by reference each and every allegation

        4   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

        5           43.     The acts of Diamond, Bosworth, and Supreme Greeks constitute misappropriation

        6   of trade secrets, as defined in California Civil Code section 3426, et seq, and is a violation of the
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 u      7   California Uniform Trade Secrets Act.
 ~      8           44.     At all times during his employment with Plaintiff, Diamond was in possession of
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0       9   and had access to Plaintiffs Trade Secrets and Confidential Information as more specifically set

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       10   forth in Paragraphs 1 through 41, above. Bosworth came into possession of Plaintiffs trade
 ~     11   secrets by acting as a financial representative without disclosing his conflict of interest, or
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       12   maintaining his prospective client's confidential disclosures, as more specifically set forth in

       13   Paragraphs 1 through 41, above. Supreme Greeks was on notice that Diamond and Bosworth

       14   unlawfully misappropriated client lists, business models, and other trade secrets and has used

       15   those secrets its business operations. Compilation of the Trade Secrets and Confidential

       16   Information was the result of a substantial amount of time, effort, and money on the part of

       17   Plaintiff in the operation of their business. Furthermore, establishing goodwill and client

       18   relationships was also a result of a substantial amount of time, effort, and money on the part of

       19   Plaintiff in the operation of their business.

       20           45.     It appears that Bosworth and Diamond began a business relationship in January of

       21   2013, while Diamond was still employed by Plaintiff, and the two parties worked together to

       22   obtain Plaintiffs trade secrets.

       23           46.     The Trade Secrets and Confidential Information had, and continue to have,

       24   economic Value in that they constitute and/or contain information not generally known to the

       25   public or persons who could obtain economic value from its disclosure, and represent substantial

       26   research and confidential connnunications between Plaintiff and their potential and existing

       27   customers.

       28           4 7.    Plaintiff has made every effort to ensure that the Trade Secrets and Confidential
                                                  EXHIBIT A
                                                       28 11
                                    COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        1   Information remain secret and confidential property. For example, Plaintiff had Diamond and

        2   other employees sign a non-disclosure agreement. Plaintiff has had a longstanding policy that all

        3   information relating to communications, financial information and contracts with customers and

        4   potential customers, and their identities, is confidential and should be kept confidential by all of

        5   Plaintiffs employees, both during employment and after termination of employment.

        6           48.       The goodwill and client relationships established by Plaintiff had, and continue to

        7   have, economic value in that they constitute years of effort and resources expended by Plaintiff in


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        8   order to establish them.

c(j     9           49.       As alleged in Paragraphs 1 through 41 above, Diamond, Bosworth, and Supreme

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       10   .Greeks have misappropriated, and continue to misappropriate, Plaintiffs Trade Secrets and
 ;:1   11   Confidential Information. Diamond, Bosworth, and Supreme Greeks have used, and continue to
i:Q
       12   use, the Trade Secrets and Confidential Information to their own benefit and to the detriment of

       13   Plaintiff. Their actions have already caused Plaintiff to suffer losses in an amount according to

       14   proof at trial.

       15           50.       As a direct result of Diamond, Bosworth, and Supreme Greeks' wrongful acts,

       16   Plaintiff has suffered and continue to suffer, among other things, general and special damages in

       17   accordance with proof, which are above the jurisdictional limit of this court.

       18           51.       Plaintiff is informed and believes, and on that basis alleges, that Diamond,

       19   Bosworth, and Supreme Greeks acted intentionally in conscious disregard of the rights of

       20   Plaintiff, with fraud, malice and oppression, in that they knew that their acts and conduct, as

       21   alleged hereinabove, were unjustified and would result in severe financial and economic injury to

       22   Plaintiff and intentionally kept such acts secret from Plaintiff. Accordingly, Plaintiff is entitled to

       23   an award of punitive damages against Diamond, Bosworth, and Supreme Greeks. The amount of

       24   such punitive damages should be determined at the time of trial of this action.

       25                                     SECOND CAUSE OF ACTION

       26 (Misappropriation of Trade Secrets-Common Law Against Diamond, Bosworth, and Snpreme Greeks)
       27           52.       Plaintiff re-alleges and incorporates by reference each and every allegation

       28   contained in Paragraphs 1 through 41, above, as though set forth in full herein.
                                                EXHIBIT A
                                                     29 12
                                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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       1            53.    The acts and/or practices committed by Diamond, Bosworth, and Supreme Greeks,

       2    As alleged in Paragraphs 1 through 41 above, constitute misappropriation of trade secrets at

       3    common law.

       4            54.    As set forth in Paragraphs 1 through 41 above, Diamond, Bosworth, and Supreme

       5    Greeks have misappropriated, and continue to misappropriate, Plaintiff's trade secrets and

        6   Confidential Information. Diamond, Bosworth, and Supreme Greeks have used, and continue to

        7   use, the Trade Secrets and Confidential Information to their own benefit and to the detriment of


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            Plaintiff.

                    55.    As a direct result of Diamond, Bosworth, and Supreme Greeks' wrongful acts,

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       10   Plaintiff has suffered and continue to suffer, among other things, general and special damages in
 ;:l   11   accordance with proof, which are above the jurisdictional threshold of this Court.
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       12           56.    Plaintiff is informed and believes, and on that basis alleges, that Diamond,

       13   Bosworth, and Supreme Greeks acted intentionally in conscious disregard of the rights of

       14   Plaintiff, with fraud, malice and oppression, in that they knew that their acts and conduct, as

       15   alleged hereinabove, were unjustified and would result in severe financial and economic injury to

       16   Plaintiff and intentionally kept such acts secret from Plaintiff. Accordingly, Plaintiff is entitled to

       17   an award of punitive damages against Diamond, Bosworth, and Supreme Greeks. The amount of

       18   such punitive damages should be determined at the time of trial of this action.

       19                                     TIDRD CAUSE OF ACTION

       20           (Unfair Competition - Statutory Against Bosworth; Diamond; and Supreme Greeks)

       21           57.    Plaintiff re-alleges and incorporates by reference each and every allegation

       22   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

       23           58.    The acts and/or practices committed by Bosworth; Diamond; and Supreme

       24   Greeks, as alleged in Paragraphs through 41 above, constitute misappropriation of Plaintiff's

       25   Trade Secrets and Confidential Information. Therefore, these acts and/or practices constitute

       26   unlawful or unfair business practices within the meaning of California Business and Professions

       27   Code § 17200, et seq.

       28           59.    As a direct and proximate result of Bosworth; Diamond; and Supreme Greeks'
                                                   EXHIBIT A
                                                      30 13
                                    COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        1    unlawful or unfair business acts or practices, they have caused, and threaten to cause, substantial

        2    and irreparable harm to Plaintiff. As a result, Plaintiff is entitled to injunctive relief and

        3    disgorgement of Bosworth; Diamond; and Supreme Greeks' profits that are rightfully Plaintiffs, as a

        4   result of such unlawful activity in an amount according to proof at trial.

        5                                     FOURTH CAUSE OF ACTION

        6           (Unfair Competition - Common Law Against Bosworth; Diamond; and Supreme Greeks)
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 u      7             60.    Plaintiff re-alleges and incorporates by reference each and every allegation

j       8    contained in Paragraphs 1 through 41, above, as though set forth in full herein.

0       9             61.    The acts and/or practices committed by Bosworth; Diamond; and Supreme
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 >-1   10    Greeks, As alleged in Paragraphs 1 through 41 above, constitute unfair competition at common
 ~     11    law.
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       12             62.    As a direct and proximate result of Bosworth; Diamond; and Supreme Greeks'

       13   unfair competition, they have caused, and threaten to cause, substantial and irreparable harm to

       14    Plaintiff in an amount according to proof at trial.

       15             63.    As a direct and proximate result of Bosworth; Diamond; and Supreme Greeks'

       16    unlawful or unfair business acts or practices, they have caused, and threaten to cause, substantial

       17    and irreparable harm to Plaintiff. As a result, Plaintiff is entitled to injunctive relief and

       18    disgorgement of Bosworth; Diamond; and Supreme Greeks' profits that are rightfully Plaintiff's, as a

       19    result of such unlawful activity in an amount according to proof at trial.

       20                                       FIFTH CAUSE OF ACTION

       21                               (Breach of Written Contract Against Diamond)

       22             64.    Plaintiff re-alleges and incorporates by reference each and every allegation

       23    contained in Paragraphs 1 through 41, above, as though set forth in full herein.

       24             65.    The Agreement executed by Diamond, among other things, stated that he would

       25 keep confidential, both during, and after, his employment relationship with Plaintiff all of the
       26 Trade Secrets and Confidential Information belonging to Plaintiff. By executing the Agreement,
       27 Diamond understood and agreed that information that was supplied to him, including but not
       28 limited to Plaintiff's client lists, employee data, billing records, invoices, schedules, and other
                                                    EXHIBIT A
                                                        31 14
                                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        1 confidential information, were trade secrets, and were provided in confidence for the sole purpose

       2    of facilitating his duties as an employee of Plaintiff, and was not to be disclosed, in whole or in

       3    part, to any person.

       4            66.      Plaintiff has performed all conditions, covenants, and promises required of it

       5     under the terms of the Agreement.

       6            67.      Diamond breached the Agreement by, among other things: disclosing the inner
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 u     7     workings of Plaintiffs operations; secretly gathering Trade Secrets and Confidential Information

~      8     about Plaintiffs customers and their confidential customer information needs while still

0       9    employed by Plaintiff for the purpose of soliciting those customers after he separated from
 f;1   10    employment with Plaintiff; failing to maintain the confidence of Plaintiffs Trade Secrets and
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       11    Confidential Information, and using client lists and/or information by providing such information

       12    to Supreme Greeks; secretly soliciting Plaintiffs customers and employees, for the benefit of

       13    Supreme Greeks, or other competitors of Plaintiff.

       14            68.     As a direct result of the actions of Diamond, as alleged in Paragraphs 1 through

       15    41, above, and in this cause of action. Plaintiff has suffered actual damages in an amount to be

       16    determined according to proof at trial.

       17                                       SIXTH CAUSE OF ACTION

       18                               (Breach of Written Contract Against Diamond)

       19            69.     Plaintiff re-alleges and incorporates by reference each and every allegation

       20    contained in Paragraphs 1 through 41, above, as though set forth in full herein.

       21            70.     Pursuant to Civil Code Section 1619 et seq. a contract may be implied by the

       22    conduct of the parties to it. Upon being hired, Diamond promised he would keep confidential,

       23    both during, and after, his employment relationship with Plaintiff all of the Trade Secrets and

       24    Confidential Information belonging to Plaintiff. Diamond understood and agreed that information

       25    that was supplied to hil)1, including but not limited to Plaintiffs client lists, vendor lists,

       26    employee data, billing records, invoices, schedules, and other confidential information, were

       27    trade secrets, and were provided in confidence for the sole purpose of facilitating his duties as an

       28    employee of Plaintiff, and was not to be disclosed, in whole or in part, to any person.
                                                     EXHIBIT A
                                                        32 15
                                      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        1           71.    Each party intended that a contract be formed, and acted as though a contract had

       2    been formed. The parties reduced the agreement to writing.

       3            72.    Diamond breached the implied contract between the parties by, among other

        4   things: disclosing the inner workings of Plaintiff' operations; secretly gathering Trade Secrets and

        5   Confidential Information about Plaintiff' customers and their confidential customer information

        6   needs while still employed by Plaintiff for the purpose of soliciting those customers after he
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 u      7   separated from employment with Plaintiff; failing to maintain the confidence of Plaintiff' trade

j       8   secrets and other Confidential Information, and using client lists and/or information by providing

0       9   such information to Supreme Greeks; secretly soliciting Plaintiff' customers and employees, for
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 e-1   10   the benefit of Supreme Greeks, or other competitors of Plaintiff.
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       11           73.    As a direct result of the actions of Diamond, as alleged in Paragraphs 1 through

       12   41, above, and in this cause of action. Plaintiff has suffered actual damages in an amount to be

       13   determined according to proof at trial.

       14                                  SEVENTH CAUSE OF ACTION

       15                        (Conversion Against Diamond and Supreme Greeks)

       16           74.    Plaintiff re-alleges and incorporates by reference each and every allegation

       17   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

       18           75.    Plaintiff purchased a Dell computer for use in their San Diego office. While

       19   Diamond was permitted to use the computer as part of his employment, it was at all times owned

       20   by Plaintiff's and constitutes Plaintiffs personal property.

       21           76.    Upon Diamond's resignation the computer was not returned to Plaintiff, and

       22   Plaintiff is informed and believes that Diamond acting in his individual capacity, and as an agent

       23   of Supreme Greeks, took the computer with him when he resigned, and converted it to his own

       24   use and the use of Supreme Greeks.

       25           77.    As a direct and proximate result of the conversion by Diamond Plaintiff has been

       26   damaged in an amount according to proof to be determined at the time of trial.

       27           78.    Diamond acted intentionally and in conscious disregard of the rights of Plaintiff

       28   with fraud, malice and oppression, in that he knew that his acts and conduct, As alleged in
                                                  EXHIBIT A
                                                       33 16
                                   COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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       1    Paragraphs 1 through 41 above, were unjustified and would result in injury to Plaintiff.

       2    Accordingly, Plaintiff is entitled to an award of punitive damages against Diamond. The amount

       3    of such punitive damages should be determined at the time of trial.

       4                                      EIGHTH CAUSE OF ACTION

       5    (Intentional Interference With Contractual Relations Against Diamond, Bosworth, Supreme Greeks)

        6           79.     Plaintiff re-alleges and incorporates by reference each and every allegation

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 u      7   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

u~      8           80.     As alleged in Paragraphs 1through41 above, as a result of Plaintiffs efforts

0       9   throughout the years, Plaintiff has established invaluable relationships with numerous clients,

 ~    10    venues, and employees.
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      11            81.     Diamond and Bosworth obtained knowledge of Plaintiffs relationships with

       12   existing and prospective clients as well as Trade Secrets and Confidential Information regarding

      13    those clients, with the intention of interfering with Plaintiffs relationships with its clients.

      14    Diamond, Bosworth, and Supreme Greeks used the confidential information to solicit clients, and

      15    divert business from Plaintiff.

      16            82.     Diamond, Bosworth, and Supreme Greeks acted with the purpose and desire to

      17    interfere with Plaintiffs business relationships and further knew that interference was certain or

       18   substantially certain to occur as a result of their actions.

       19           83.     Diamond, Bosworth, and Supreme Greeks intentionally and actually interfered

      20    with Plaintiffs existing contractual relationships.

      21            84.     By using Plaintiffs Trade Secrets and Confidential Information and soliciting

      22    Plaintiffs existing and prospective customers, Diamond, Bosworth, and Supreme Greeks

      23    disrupted and diverted Plaintiffs business relationships by improper methods which fall outside

      24    the boundaries of lawful or fair competition.

      25            85.     Diamond, Bosworth, and Supreme Greeks' wrongful conduct has interfered with

      26    economic advantages that would have accrued to Plaintiff absent Diamond, Bosworth, and

      27    Supreme Greeks' wrongful conduct, and has caused, and will continue to cause, Plaintiff to suffer

      28    economic damages in an amount to be determined at the time of trial of this action.
                                              EXHIBIT A
                                                   34 17
                                    COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        1          Plaintiff is informed and believes, and on that basis allege, that Diamond, Bosworth, and

        2 Supreme Greeks acted intentionally in conscious disregard of the rights of Plaintiff, with fraud,
        3 malice and oppression, in that they knew that their acts and conduct, alleged hereinabove, were
        4 unjustified and would result in severe financial and economic injury to Plaintiff and intentionally
        5 kept such acts secret from Plaintiff. Accordingly, Plaintiff is entitled to an award of punitive
         6 damages against Diamond, Bosworth, and Supreme Greeks. The amount of such punitive
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         7 damages should be determined at the time of trial of this action.
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~        8                                      NINTH CAUSE OF ACTION

0       9    (Negligent Interference with Contractual Relations. Against Diamond, Bosworth, Supreme Greeks)



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        10           86.       Plaintiff re-alleges and incorporates by reference each and every allegation

        11   contained in Paragraphs 1 through 41, above, as though set forth in full herein.
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        12           87.       Diamond and Bosworth obtained knowledge of Plaintiffs relationships with

        13   existing and prospective clients as well as Confidential Information through their roles as

        14   employee and potential financial representative respectively. Diamond, Bosworth, and Supreme

        15   Greeks owed Plaintiff a duty to deal with Plaintiff in good faith. They were obliged to use care so

        16   as not to interfere with the business relationships of Plaintiff, and also had a legal duty under

        17   California Business and Professions Code § 17200, et seq., not to engage in unfair competition

        18   with Plaintiff.

        19           88.       Diamond, Bosworth and Supreme Greeks, knew or should have known that their

        20   use of the Confidential Information to solicit Plaintiffs clients would negatively impact the

        21   contractual relationship of Plaintiff with those customers. Diamond, Bosworth and Supreme

        22   Greeks, therefore, were, or should have been, fully aware when they entered into the above-

        23   described business relationships that their failure to use ordinary care in soliciting business from

        24   such customers could subject Plaintiff to a loss of business and profits.

        25           89.       Diamond, Bosworth and Supreme Greeks nevertheless negligently solicited

        26   Plaintiffs customers through the use of Plaintiffs trade secrets and confidential information.

        27           90.       As a direct and proximate result of Diamond, Bosworth and Supreme Greeks'

        28   wrongful acts, Plaintiff has suffered and continue to suffer, among other things, general and
                                                     EXHIBIT A
                                                        35 18
                                       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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         1   special damages according to proof, which are above the jurisdictional threshold of this Court.

        2                                     TENTH CAUSE OF ACTION

         3         (Breach of Duty of Loyalty in Violation of Labor Code § 2863 Against l)iamond)

         4          91.     Plaintiff re-alleges and incorporates by reference each and every allegation

         5   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

         6          92.     Diamond was an employee and branch manager of Extreme with knowledge of its
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  u      7   business model, clients, and other Confidential information, and as such owed a statutory duty of
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0        8   loyalty to the company. Pursuant to Labor Code section 2863, "an employee who has any

             business to transact on his own account, similar to that intrusted to him by his employer, shall
r-25     9

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        10   always give the preference to the business of the employer."
  ~     11          93.     Diamond knowingly acted on his own account and against Extreme' s interests in
~
        12   connection with his role as manager, by working for a competitor for over a year while still being

        13   employed at Extreme; misappropriating Confidential Information; disclosing client lists, business

        14   models, trade secrets and other Confidential Information to Supreme Greeks, deleting data from

        15   Extreme' s computers; and soliciting clients away from Extreme.

        16          94.     As a direct and proximate result of Diamond's breach ofloyalty Plaintiff has been

        17   damaged in an amount according to proof to be determined at the time of trial.

        18          95.     Diamond acted intentionally and in conscious disregard of the rights of Plaintiff

        19   with fraud, malice and oppression, in that he knew that his acts and conduct, As alleged in

        20   Paragraphs 1 through 41 above, were unjustified and would result in severe financial and

        21   economic injury to Plaintiff, and intentionally kept such acts secret from Plaintiff. Accordingly,

        22   Plaintiff is entitled to an award of punitive damages against Diamond. The amount of such

        23   punitive damages should be determined at the time of trial.

        24                                 ELEVENTH CAUSE OF ACTION

        25                  (Conspiracy Against Diamond, Bosworth, and Supreme Greeks)

        26          96.     Plaintiff re-alleges and incorporates by reference each and every allegation

        27   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

        28          97.     Plaintiff is informed and believes, and on that basis allege that Defendants
                                                   EXHIBIT A
                                                        36 19
                                    COMPLAINT FOR DAMAGES AND INTIJNCTIVE RELIEF
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        1    conspired and acted in concert to commit the above mentioned torts. Defendants' conduct

        2    constitutes an agreement to accomplish an unlawful objective, specifically the misappropriation

        3    of Plaintiffs trade secrets, implementation of Plaintiffs business model, and solicitation of

        4    Plaintiffs venues and clients.

        5           98.     As a direct and proximate result of Defendants' conspiracy Plaintiff has been

         6   damaged in an amount according to proof to be determined at the time of trial.
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  ~      7          99.     Defendants acted intentionally and in conscious disregard of the rights of Plaintiff
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 ()      8   with fraud, malice and oppression, in that they knew that their acts and conduct, As alleged in

v-::1   9    Paragraphs 1 through 41. above, were unjustified and would result in severe financial and
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  ;:i   10   economic injury to Plaintiff, and intentionally kept such acts secret from Plaintiff. Accordingly,
  p
  ;:i   11   Plaintiff is entitled to an award of punitive damages against Defendants. The amount of such
 (:Q
        12   punitive damages should be determined at the time of trial.

        13                                    TWELFTH CAUSE OF ACTION

        14      (Violation of Computer Fraud and Abuse Act Against Diamond and Supreme Greeks)

        15          100.    Plaintiff re-alleges and incorporates by reference each and every allegation

        16   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

        17          101.    Diamond, in his personal capacity and on behalf of Supreme Greeks, intentionally

        18   accessed Plaintiffs computer without authorization and obtained confidential information from a

        19   protected computer used in and affecting interstate commerce or communication, in violation of

        20   The Computer Fraud and Abuse Act (18 USC §1030).

        21           102.   Diamond and Supreme Greeks committed the act of accessing Plaintiffs computer

        22   for their own commercial advantage and private financial gain.

        23           103.    Their act of accessing Plaintiffs computer was in furtherance of Diamond and

        24   Supreme Greeks' other tortious acts described above, including but not limited to,

        25   misappropriation of trade secrets, conversion, tortious interference with prospective economic

        26   advantage, conspiracy, and spoliation.

        27          104.    The value of the information obtained from Plaintiffs protected computer exceeds

        28   $5,000.00, and Plaintiff has been damaged in an amount according to proof to be detennined at
                                                  EXHIBIT A
                                                     37 20
                                    COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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       1   the time of trial.

       2                                  THIRTEENTH CAUSE OF ACTION

       3                   (Trademark Infringement Against Bosworth and Supreme Greeks)

       4            105.    Plaintiff re-alleges and incorporates by reference each and every allegation

       5   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

       6            106.    Plaintiff is the owner of the fictitious business name "Extreme Greeks" and filed
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u      7   said name on January 29, 2007. Bosworth did not file the fictitious business name "Supreme
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~      8   Greeks" until March 9, 2012.
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0      9            107.    Plaintiff use the name "Extreme Greeks" in connection with their services, and the

~     10   name has become an intrinsic and essential part of the valuable goodwill and property of Plaintiff.
~     11   The name is well known and established to customers and identifies and distinguishes Plaintiffs
~
      12   distinctive high quality services from all others.

      13            108.    The name "Supreme Greeks" is substantially similar, and is very likely to cause

      14   confusion, mistake, or deception as to the source, affiliation, sponsorship, or authenticity of

      15   Defendants' services.

      16           109.     Defendants' infringement of Plaintiffs name is willful, and intended to reap the

      17   benefit of the goodwill of Plaintiff.

      18           110.     As a direct and proximate result of Bosworth and Supreme Greeks' wrongful acts,

      19   Plaintiff has suffered and continue to suffer, among other things, general and special damages

      20   according to proof, which are above the jurisdictional threshold of this Court.

      21                                  FOURTEENTH CAUSE OF ACTION

      22                        (Breach of Fiduciary Duty Agaiust Bosworth aud Northwesteru)

      23           111.     Plaintiff re-alleges and incorporates by reference each and every allegation

      24   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

      25           112.     Bosworth met with Wilson in his role as a financial representative from

      26   Northwestern supposedly offering to provide financial services to Plaintiff. Financial

      27   representatives are entrusted with salary information, tax returns, profit estimates, employee data

      28   and other confidential information, and Plaintiff is informed and believes that financial
                                                EXHIBIT A
                                                     38 21
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         1   representatives owe a fiduciary duty to their clients and potential clients to keep all information

         2   confidential and act in the clients' best interests.

         3           113.    As afidnciary, Bosworth had a duty to disclose any and all conflicts of interest

         4   before Wilson disclosed Confidential information. Further, Bosworth has a duty to keep all of

         5   Plaintiffs information confidential and act in Plaintiffs best interests. Instead Bosworth used the

         6   Confidential information to his own advantage and that of his competing business.
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 u       7           114.    Northwestern had a duty to investigate Bosworth's activities and professional
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 ~       8   affiliations before allowing him to contact potential clients on behalf of Northwestern. Bosworth
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0        9   did not conceal his affiliation with his competing business Supreme Greeks from Northwestern.

  ~     10   Moreover, Northwestern's other agent Mr. Verzino, as a licensed agent, had an obligation to
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p'.1
        11   investigate who he and Bosworth were meeting with and.advise Wilson ofBosworth's conflict of

        12   interest before any disclosures were made.

        13           115.    Northwestern had a duty to provide adequate training to both Bosworth and Mr.

        14   Verzino about their fiduciary and ethical obligations as well as their disclosure duties to potential

        15   clients. Boswo.rth intentionally concealed his conflict of interest, and appropriated the

        16   confidential information of a potential client for his own use. Bosworth's acts were committed

        17   within the course and scope of his agency relationship with Northwestern.

        18           116.    As a direct and proximate result of Bosworth and Northwestern's breach of

        19   fiduciary duties Plaintiff has been damaged in an amount according to proof to be determined at

        20   the time of trial.

        21                                  FIFTEENTH CAUSE OF ACTION

        22                   (Breach of Suitability Standard Against Bosworth and Northwestern)

        23           117.    Plaintiff re-alleges and incorporates by reference each and every allegation

        24   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

        25           118.    Bosworth met with Wilson in his role as a financial representative from

        26   Northwestern supposedly offering to provide financial services to Plaintiff. Financial

        27   representatives are entrusted with salary information, tax returns, profit estimates, employee data

        28   and other confidential information, and at the very least they must meet a standard of suitability.
                                                     EXHIBIT A
                                                        39 22
                                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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         1           119.    Pursuant to FINRA Rule 2111 "A member or an associated person must have a

        2    reasonable basis to believe that a recommended transaction or investment strategy involving a

        3    security or securities is suitable for the customer." The notations to Rule 2111 make it clear that

         4   "the suitability rule is fundamental to fair dealing and is intended to promote ethical sales

         5   practices and high standards of professional conduct." Furthermore, courts have found a breach

         6   of the suitability standard when financial representatives conduct transactions for their own
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 u       7   personal, financial benefit. Sanctions were upheld when a financial representative made

~        8   unsuitable recommendations that placed his clients at risk and put his own interests before those

(,~      9   of his clients. (See McNabb v. SEC (2002) 298 F.3d 1126, 1133.)
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 H      10           120.    Bosworth had a duty to make suitable recommendations, and not put his own
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        11   interests before those of his prospective client. Instead Bosworth used the Confidential

        12   information to his own financial advantage and that of his competing business.

        13           121.    Northwestern had a duty to investigate Bosworth's activities and professional

        14   affiliations before allowing him to contact potential clients on behalf of Northwestern. Bosworth

        15   did not conceal his affiliation with his competing business Supreme Greeks from Northwestern.

        16   Moreover, Northwestern's other agent Mr. Verzino, as a licensed agent, had an obligation to

        17   investigate who he and Bosworth were meeting with and advise Wilson of Bosworth' s conflict of

        18   interest before any disclosures were made.

        19           122.    Northwestern had a duty to provide adequate training to both Bosworth and Mr.

        20   Verzino about their ethical obligations to potential clients. Bosworth intentionally concealed his

        21   conflict of interest, and appropriated the confidential information of a potential client for his own

        22   use. Bosworth's acts were committed within the course and scope of his agency relationship with

        23   Northwestern.

        24           123.     As a direct and proximate result of Bosworth and Northwestern's breach of the

        25   suitability standard, Plaintiff has been damaged in an amount according to proof to be determined

        26   at the time of trial.

        27 111
        28 111
                                                   EXHIBIT A
                                                      40 23
                                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        1                                  SIXTEENTH CAUSE OF ACTION

       2                (Violation oflnvestment Advisor's Act Against Bosworth and Northwestern)

       3            124.    Plaintiff re-alleges and incorporates by reference each and every allegation

       4    contained in Paragraphs 1 through 41, above, as though set forth in full herein.

       5            125.     Bosworth met with Wilson in his role as a financial representative from

        6   Northwestern supposedly offering to provide financial services to Plaintiff. Financial
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  u
  ~     7   representatives are entrusted with salary information, tax returns, profit estimates, employee data

 ~      8   and other confidential information, and they must comply with the Investment Advisor's Act.

c.?)    9           126.    15 USC § 80b-2 defines "Investment adviser" as follows "any person who, for

  ~    10   compensation, engages in the business of advising others, either directly or through publications
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       11   or writings, as to the value of securities or as to the advisability of investing in, purchasing, or

       12   selling securities, or who, for compensation and as part of a regular business, issues or

       13   promulgates analyses or reports concerning securities." Northwestern and its financial

       14   representative Bosworth are considered investment advisors under the Investment Advisor's Act

       15   and must comply with all of its provisions.

       16           127.    15 USC § 80b--6 provides as follows: "It shall be unlawful for any investment

       17   adviser, by use of the mails or any means or instrumentality of interstate commerce, directly or

       18   indirectly (1) to employ any device, scheme, or artifice to defraud any client or prospective client;

       19   (2) to engage in any transaction, practice, or course of business which operates as a fraud or

       20   deceit upon any client or prospective client ... (4) to engage in any act, practice, or course of

       21   business which is fraudulent, deceptive, or manipulative." Bosworth's meeting with Wilson was a

       22   scheme to defraud Plaintiff and obtain their confidential information. He mislead Plaintiff

       23   regarding the purpose of the meeting, failed to disclose his conflict of interest, and failed to keep

       24   his potential client's information confidential.

       25           128.    Northwestern had a duty to provide adequate training to both Bosworth and Mr.

       26   Verzino about their ethical obligations to potential clients. Bosworth intentionally concealed his

       27   conflict of interest, and appropriated the confidential information of a potential client for his own

       28   use. Bosworth's acts were committed within the course and scope of his agency relationship with
                                                   EXHIBIT A
                                                      41 24
                                    COMPLAINT FOR DAMAGES AND INJUNCTNE RELIEF
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 26 of 89 Page ID #:1016



    1   Northwestern. Northwestern allowed Bosworth to engage in a course of business which was

    2   fraudulent, deceptive, and manipulative, and both have violated the Investment Advisor's Act.

    3                                          PRAYER FOR RELIEF

    4           As to Plaintiffs First Cause of Action, Plaintiff prays for judgment, as follows:

    5           1.      An injunction restraining and enjoining Defendants for two (2) years from:

    6                   (i)     soliciting, whether directly or indirectly, and whether alone or in concert

    7 with others, any business from any of Plaintiffs clients or customers whose names became known

    8   to Diamond and/or Bosworth;

    9                   (ii)    continuing to serve the clients that they have already diverted from Plaintiff

   10 through their unlawful acts;

   11                   (iii)   using, disclosing, transmitting, and continuing to possess for any purpose

   12   Plaintiffs trade secrets and confidential information, including, but not limited to, the client and

   13   customer lists that Defendants have obtained;

   14                   (iv)    altering, removing, destroying, erasing, or deleting any evidence, including

   15   without limitation, hard copy documents and information residing in personal and business

   16   computer drives, relating to Plaintiff and any of Defendants' activities in connection with Plaintiff

   17   or Plaintiffs clients and customers;

   18                   (v)     inducing or attempting to induce any of Plaintiffs present, former, or

   19   prospective clients and customers whose identities became known to Defendants through the acts

   20   of Diamond and/or Bosworth to terminate their financial relationships with Plaintiff;

   21                   (vi)    inducing or attempting to induce any of Plaintiffs employees to leave

   22 Plaintiffs employ for the purposes of joining any competitor of Plaintiff; and

   23           2.      An order requiring Defendants to immediately return to Plaintiff all originals and/or

   24   copies of any of its documents, records, computer files, databases, customer lists, information, or

   25   other materials of a confidential or proprietary nature presently in Defendants' possession or under

   26   Defendants' control;

   27           3.      An order requiring Defendants to hold any assets unlawfully obtained as alleged

   28   herein in constructive trust for the benefit of Plaintiff;
                                                 EXHIBIT A
                                                    42 25
                                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 27 of 89 Page ID #:1017



    1          4.      Disgorgement of all profits received by virtue of Defendants' wrongful conduct;

    2          5.      Compensatory, special and/or general damages in an amount to be determined at

    3 trial;

    4          6.      Punitive Damages;

    5          7.      Reasonable attorney's fees pursuant to Civil Code 3426.4;

    6          8.      Pre-judgment interest on any monetary award, as permitted by law;

    7          9.      All costs of suit herein incurred; and

    8          10.     For such other and further relief as the Court may deem just and proper.

    9          As to Plaintiff's Second. Seventh, Tenth. Eleventh. and Thirteenth Causes of Action,

   10 Plaintiff prays for judgment. as follows:

   11          1.      An injunction restraining and enjoining Defendants for two (2) years from:

   12                  (i)     soliciting, whether directly or indirectly, and whether alone or in concert

   13 with others, any business from any of Plaintiff's clients or customers whose names became known

   14 to Diamond and/or Bosworth;

   15                  (ii)    continuing to serve the clients that they have already diverted from Plaintiff

   16 through their unlawful acts;

   17                  (iii)   using, disclosing, transmitting, and continuing to possess for any purpose

   18 Plaintiffs trade secrets and confidential information, including, but not limited to, the client and

   19 customer lists that Defendants have obtained;

   20                  (iv)    altering, removing, destroying, erasing, or deleting any evidence, including

   21 without limitation, hard copy documents and information residing in personal and business

   22 computer drives, relating to Plaintiff and any of Defendants' activities in connection with Plaintiff

   23 or Plaintiff's clients and customers;

   24                  (v)     inducing or attempting to induce any of Plaintiff's present, former, or

   25 prospective clients and customers whose identities became known to Defendants through the acts

   26 of Diamond and/or Bosworth to terminate their financial relationships with Plaintiff;

   27                  (vi)    inducing or attempting to induce any of Plaintiff's employees to leave

   28 Plaintiffs employ for the purposes of joining any competitor of Plaintiff; and
                                               EXHIBIT A
                                                  43 26
                                COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 28 of 89 Page ID #:1018



    1          2.      An order requiring Defendants to immediately return to Plaintiff all originals and/or

    2 copies of any of its documents, records, computer files, databases, customer lists, information, or

    3 other materials of a confidential or proprietary nature presently in Defendants' possession or under

    4 Defendants' control;

    5          3.      An order requiring Defendants to hold any assets unlawfully obtained as alleged

    6 herein in constructive trust for the benefit of Plaintiff;

    7          4.      Disgorgement of all profits received by virtue of Defendants' wrongful conduct;

    8          5.      Compensatory, special and/or general damages in an amount to be determined at

    9 trial;
   10          6.      Punitive Damages;

   11          7.      Pre-judgment interest on any monetary award, as permitted by law;

   12          8.      All costs of suit herein incurred; and

   13          9.      For such other and further relief as the Court may deem just and proper.

   14          As to Plaintiffs Third, Fourth. Fifth, Sixth, Ninth, Fourteenth, Fifteenth. and Sixteenth

   15 Causes of Action, Plaintiff prays for judgment, as follows:
   16          1.      An injunction restraining and enjoining Defendants for two (2) years from:

   17                  (i)     soliciting, whether directly or indirectly, and whether alone or in concert

  18 with others, any business from any of Plaintiffs clients or customers whose names became known
   19 to Diamond and/or Bosworth;

  20                   (ii)    continuing to serve the clients that they have already diverted from Plaintiff

  21 through their unlawful acts;

  22                   (iii)   using, disclosing, transmitting, and continuing to possess for any purpose

  23 Plaintiffs trade secrets and confidential information, including, but not limited to, the client and
  24 customer lists that Defendants have obtained;
  25                   (iv)    altering, removing, destroying, erasing, or deleting any evidence, including

  26 without limitation, hard copy documents and information residing in personal and business

  27 computer drives, relating to Plaintiff and any of Defendants' activities in connection with Plaintiff

  28 or Plaintiffs clients and customers;
                                               EXHIBIT A
                                                  44 27
                                COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 29 of 89 Page ID #:1019



   1                  (v)     inducing or attempting to induce any of Plaintiffs present, former, or

   2 prospective clients and customers whose identities became known to Defendants through the acts

   3 of Diamond and/or Bosworth to terminate their financial relationships with Plaintiff;

   4                  (vi)    inducing or attempting to induce any of Plaintiffs employees to leave

   5 Plaintiffs employ for the purposes of joining any competitor of Plaintiff; and
   6          2.      An order requiring Defendants to immediately return to Plaintiff all originals and/or

   7 copies of any of its documents, records, computer files, databases, customer lists, information, or

   8 other materials of a confidential or proprietary nature presently in Defendants' possession or under

   9 Defendants' control;

  10          3.      An order requiring Defendants to hold any assets unlawfully obtained as alleged

  11 herein in constructive trust for the benefit of Plaintiff;

  12          4.      Disgorgement of all profits received by virtue of Defendants' wrongful conduct;

  13          5.      Compensatory, special and/or general damages in an amount to be determined at

  14 trial;
  15          6.      Pre-judgment interest on any monetary award, as permitted by law;

  16          7.      All costs of suit herein incurred; and

  17          8.      For such other and further relief as the Court may deem just and proper.

  18          As to Plaintiffs Eighth Cause of Action, Plaintiff prays for judgment, as follows:

  19           1.     An order requiring Defendants to immediately return the converted property in its

  20 original condition.

  21          2.      An order requiring Defendants to pay the full value of the converted property;

  22          3.      Compensatory, special and/or general damages in an amount to be determined at

  23 trial;
  24          4.      Punitive damages;

  25          5.      Pre-judgment interest on any monetary award, as permitted by law;

  26          6.      All costs of suit herein incurred; and

  27          7.      For such other and further relief as the Court may deem just and proper.

  28 II I
                                               EXHIBIT A
                                                  45 28
                               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 30 of 89 Page ID #:1020



    1          As to Plaintiffs Twelfth Cause of Action, Plaintiff prays for judgment, as follows:

   2           1.      An injunction restraining and enjoining Defendants from further accessing any of
   3    Plaintiffs' computers.

    4          2.      Compensatory, special and/or general damages in an amount to be determined at

    5 trial;

    6          3.      Pre-judgment interest on any monetary award, as permitted by law;

    7          4.      All costs of suit herein incurred; and

    8          5.      For such other and further relief as the Court may deem just and proper.

    9
   10 Dated: June 18, 2014                         BRADLEY & GMELICH

   11

   12
                                                   By:
   13
                                                                Gary J.
   14                                                           JohnK.
                                                                Laura M. LeF euvre
   15
   16                                                    Attorneys for Plaintiff, THE PERFECT EVENT
                                                         INC., dba EXTREME ENTERTAINMENT
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                                              EXHIBIT A
                                                 46 29
                                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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       1                                DEMAND FOR TRIAL BY JURY

      2         Plaintiff, THE PERFECT EVENT INC., dba EXTREME ENTERTAINMENT hereby

      3 demands trial of this matter by jury.

       4
       5 Dated: June 18, 2014                     BRADLEY & GMELICH

       6
       7

J~
c(j
       8
       9
                                                            Gary J. Bradley
                                                            John K. Flock
                                                            Laura M. LeFeuvre
 ~    10
 ~
i:Q
      11                                              Attorneys for Plaintiff, THE PERFECT EVENT
                                                      INC., dbaEXTREME ENTERTAINMENT
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                                                EXHIBIT A
                                                   47 30
                                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                  Exhibit A             *
                                    EXHIBIT A
                                       48
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                           EMl'LQXEE NOJl!-l>ISCLOSPRE AGREEMENT

            THIS AGREEM~NT i~ made by and between Dan Wilson dba Extreme Greeks,
     ("Employer"), and     :1 ..
                          QJ~M/av\ ·         ("Employee"), effective as of the date set
     forth below.

             W11NESSETH: The parties hereto,. intending to be hereby legally bound, agree a.q
     follows:

             l.       General. The Employee may be receiving from Employer information of a non- ·
     p11blic nat11re for \Jlll) by the Employet:: in colll)ection with his or her employment by Employer.

             2.       Confidential lnfonµation Defined. The parties acknowledge that in the c~mrse
     of the employment of Employee, the .Employee may r~ive certain confidential information
     from or about Employer or its affiliates, including but not limited to technical, financial and
     business information and models, nlll]les ofpotential customers, proposed business transactiofis
     with third. parties, reports, plans, market projects, software programs, data mid other confidential
     and proprietary infonnation. relating to Employer or its business whether provided orally or in
     writing. All such techrtical, financial or other b~iness information thus supplied by Employer to
     Employee, qr learned by Employee in the course of his or her employment with the Employer, is
     hereinafter called the ''Information". 'The term "foformation'' as µsed herein also includes the fact
     that the Information has been made available to or is being inspected or evaluated by Employee.

            3.     Exclusions. frotn OefinitiCin. The term "Information" U$ t1sed herein d~s not
     include any data or information Which is already known to the Employee at the time of his or her
     employment.

             4.     Nondiselosure Obligation. The Employee receiving any Information shall keep
     s11ch Information confidential and shall not disclose such Information, in whole or in part, to any
     person without the e~pre~s consent of the Employer, e.ither during or !U'ier the employment of
     employee has .ended.

             5.       No1111sc Obligation. In addition to its obligation of nondisclosure hereunder, the
     Employee agrees that he or she will not, directly or indirectly, attempt to appropriate. or otherwise
     take for its or other parties' benefit the busi!less opportunity of Employer or information learned
     either <lilting or !U'ter tlie employment of Employee is ended.

             6.      Ownership; Return of Information. All Information (including tangible copies
     and computerized or electronic versions thereof) shall remain the property ofEmployer. Within
     ten (1 O) days following the receipt of a written request from Employer the Employee will deliver
     to Employer all Information received from Employer.

               7.     Applicability !() Others. The obligations of the Employee hereunder of non·
     disc lo sure and non-~e shall extend to its employee, and the heirs and f!Ulllly of Employee.



                                                    - 1-

                                                 EXHIBIT A
                                                    49
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            8.      Governing Law. This Agreement shall be governed by and construed and
     enforced in accordance with the laws of toe State of California.

             IN WITNESS WHEREOF, the parties have executed and delivered this Nondisclosure
     Agreement effective as of the date of execution by the !astparty to execute this Agreement as set
     forth below.




                                                                 Signature




                                                  ~2-


                                                EXHIBIT A
                                                   50
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                  Exhibit B             *
           Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 36 of 89 Page ID #:1026
 ATTORNEY OR PARTY \'\llTHOUT ATTORNEY (Name and Addll!Ss)·                                                                             TELEPHONE NO.:             FOR COURT USE ONLY
  Laura M. LeFeuvre, 291964                                                                          (818) 243-5200
  Bradley & Gmelich
  700 N. Brand Blvd.
  Ghenci,,IP. CA H1~m-1422                                                                  I   Rel. No. 01 FUa No.
 ATTORNEY FOR (Name):           Plaintiff                                                     658-03490 - The Perfect Eve
 Insert nama of court,jullldaf diS!lltl or bram:h court, if any:

  Superior Court of California, Los Angeles County
  111 N. Hill Street
  Los Angeles, CA 90012-3117
  PLAINTIFF:

                                                                   ·······-·-···                  .......... ···············- ...... __ ., ....
·· Tha··perfectEvent, rnc:;acaliforriiaCoiparatron
  DEf'l!NDANT:

 Korey Bosworth, an Individual, et al.
                                                                                                                                                           CASE NUMBER:

   PROOF OF SERVICE BY MAIL
                                                                                                                                                                          BC549408

 I am a citizen of the United States, over the age of 1B and not a party to the within action. My business address is 504 Redwood Blvd #223,
 Novato, CA 94947.



 On 7/9/2014, after substituted service under section CCP 415.20(a) or 415.20(b) or FRCP 4(e)(2)(B) or FRCP 4(h)(1 )(8) was made, I mailed
 copies of the:



 Summons, Complaint, Civil Case Cover Sheet, Civil Case Cover Sheet Addendum and Statement of Location, Notice of Case
 Assignment-Unlimited Civil Case (Non-Class Action), Stipulations Package




 to the person to be served at the place where the copies were left by placing a true copy thereof enclosed in a sealed envelope, with First Class
 postage thereon fully prepaid, in the United States Mail at Los Angeles, CA, California, addressed as follows:



 Todd Diamond an individual
 4114 Gollwood Lane
 San Diego, CA 92115



 I am readily familiar with the firm's practice for collection and processing of documents for mailing. Under that practice, it would be deposited
 within the United States Postal Service, on that same day, with postage thereon fully prepaid, in the ordinary course of business. I am aware
 that on motion of the party served, service is presumed invalid if postal cancellation date or postage meter date is more than one (1) day after
 date of deposit for mailing in affidavit




                                                                                   I declare undey~nally of perjury undef1h Jaws•.oflhe Unlled Slates of Amerio and the Slate
 Fee for Service: $ 89.65
                                                                                   of California th al tliffforegoh:n11!.!~~··Bnd c~. bl an~eclaratlon was x~tefl~· ..
                                                                                   7/10/2014 at Las Angeles •. Calirqr-01a . .......··/-.:· ··-               , _ . Z k t · · · ·"

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Khari Wyatt
One Legal - 194-Marin                                                                                     ..//'_,....//--"',/>·                                   . /.1 '                      ,c
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504 Redwood Blvd #223
Novato, CA 94947
                                                                                                          »''---->"' ./          .
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                                                                                                                                                         Khan Wyatt I'-..!.·•I         /
                                                                                                                                                                                           '
                                                                                                                                                                               l.,./
                                                                                         EXHIBIT B                                                         OL# 7352643
                                                                                            51
                      Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 37 of 89 Page ID #:1027

              ATTORN!:.Y OR PARTY VvlTHOUT ATIORNEY (Name and Address):                                                       TELEPHONE NO.;                     FOR COURT USE ONLY
              Laura M. LeFeuvre, 291964                                                                          (818) 243-5200
              Bradley & Gmelich
              700 N. Brand Blvd.
              Glendale, CA 91203-1422                                                               I   Ref. No. m File No.
              ATTORNEY FOR (Name):            Plaintiff                                             658-03490 - The Perfect Eve
              lnseli mime cf i:oun, judicial cf1stlict or branch court, ii any:

              Superior Court of California, Los Angeles County
              111 N. Hill Street
              Los Angeles, CA 90012-3117
              PLAINrlFF:
...........                                                ...........                 •·········
          The Perfect Event, Inc., a California Corporation
              DEFENDANT:

          Korey Bosworth, an Individual, et al.
                                                                                                                                                          CASE NUMBGR:
                           DECLARATION OF
                             DILIGENCE                                                                                                                    BC549408
         I received the within process on 7/2/2014 and that after due and diligent effort I have been unable to personally serve said party. The following
         itemization of the dates and times of attempts details the efforts required to effect personal service. Additional costs for diligence are
         recoverable under CCP §1033.5 (a)(4)(B).

                         PARTY SERVED:              Todd Diamond an individual
                                                                                                                                                                   BY FAX
              (1) HOME: 4114 Collwood Lane, San Diego, CA 92115




              As enumerated below:

                713/2014 9:37 PM at address (1) above. No answer. No answer at door
                7/4/2014 7:14 AM at address (1) above. No answer. No answer at door
                7/5/2014 12: 17 PM at address (1) above. No answer. No answer at door, quiet inside




                                                                                  I declare under penalty of perjury under the laws of the UnUed States of America and the State of
                                                                                  California that the foregoing is true and correct and that this declaration was executed on
                                                                                  7/10/2014 at Los Angeles, Callfomla.
         Registered California process server.
         County: SAN DIEGO
         Registration No.: 479
                                                                                                                                               Rodrigo Lora
       Rodrigo Lora
       One Legal -194-Marln                                                                   EXHIBIT B
       504 Redwood Blvd #223                                                                     52                                                           OL#7352643
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 38 of 89 Page ID #:1028




                  Exhibit C             *
           Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 39 of 89 Page ID #:1029
  ATTORNEY OR PAR1Y WITHOUT ATTORNEY (Name, Stale Bar number, and address):                                                     FOR COURT USE ONLY
                                                                                                                                                           CIV 100 -
 _Gary J. Bradley, Esq., SBN 144055
  Johll K. Flock, EK11ESBN 200183
  BRADLEY & G             LICH
  700 N. Brand Blvd., 10th Floor
  Glendale, CA 91203
        TELEPHONE NO. (818) 243-5200                          FAX NO. (Optional):   (818) 243-5266                CONFORMED COPY
                                                                                                                     ORIGINAL FILED
  E-MAIL ADDRESS (Optional):                                                                                     SuP,erior CotJrt of California.
      ATTORNEY FOR    Plaintiff THE PERFECT EVENT INC.
                          rN,mo>•                                                                                   ,ounty of Los Arif"d~B
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
      STREET ADDREss: 111 North Hill Street
                                                                                                                      NOV 0 7 2014
          MAILING ADDRESS:
                     Los Anlj)les, CA 90012-3014
          c1TYANDz1pcoDE:
                     Central istrict
              BRANCH NAME:                                                                               She ri R. Carter. Executive Officer/Cieri<
    PLAINTIFF/PETITIONER: THE PERFECT EVENT, INC., a California                                                   By Anita Pergler, Deputy
   Corporation dba EXTREME ENTERTAINMENTx
  DEFENDANT/RESPONDENT:
                                            KOREY BOSWORTH,           ET AL.
      REQUEST FOR        [XJ Entry of Default          D Clerk's Judgment                                        CASE NUMBER:

       IAnnlication\     D Court Judament                                                                    BC549408                                         ~~n
 1. TO THE CLERK: On the complaint or cross-complaint filed                                                                        ·v
                                                                                                                                                    '·
                                                                                                                                                    "Vj#'
    a. on(date): June20,2014                                                                                                  tJ,>           .az.. ..
    b. by (name): THE PERFECT EVENT, INC., a California Corporation dba                                  EXTREME ENTERTAINM~1x <'01.
    c. [XJ Enter default of defendant (names): TODD DIAMOND                                                                                              <9"~/L         f
                                                                                                                                                            'Oq

     d.   D        I request a court judgment under Code of Civil Procedure sections 585(b), 585(c), 989, etc., against defendant (names):


                   (Testimony required. Apply to the clerk for a hearing dale, unless the court will enter a judgment on an affidavit under Code
                   Civ. Proc., § 585(d).).
     e.D           Enter clerk's judgment
                   (1) D for restitution of the premises only and issue a writ of execution on the judgment Code of Civil Procedure section
                              1174(c) does not apply. (Code Civ. Proc.,§ 1169.)
                                    D     Include in the judgment all tenants, subtenants, named claimants, and other occupants of the premises. The
                                          Prejudgment Claim of Right to Possession was served in compliance with Code of Civil Procedure section
                                          415.46.
                    (2)    D        under Code of Civil Procedure section 585(a). (Complete the declaration under Code Civ. Proc., § 585.5 on the
                                    reverse (item 5).)
            (3)            D
                      for default previously entered on (date):
2. Judgment to be entered.                                                                     Credits acknowledged                         Balance
   a. Demand of complaint ..         ........ $                                            $                                    $
   b. Statement of damages•
      (1) Special                      ...... $                                            $                                    $
      (2) General                               $                                          $                                    $
   c. Interest                            .... $                                           $                                    $
   d. Costs (see reverse) ..                ... $                                          $                                    $
   e. Attorney fees .               ........ $                                             $                                    $
   f. TOTALS                             ..... $                                           $                                    $   ~~~~~~~~-




   g. Daily damages were demanded in complaint at the rate of: $                     per day beginning (date):
   ("EfJrsonal injury or wrongful death actions; Code Civ. Proc., § 425.11.)                       //
3. LJ (Check if filed in an unlawful detainer case) Legal document assistant or unlawful detainer assistant information is on
         the reverse (complete item 4).
Date: November              2014 JL,
John K. Flock

                             (1)          Default entered as requested on (date):      'NO~          0                                      !lll!!mll R. CllRTER
  FOR COURT                  (2)          Default NOT entered as requested (state reason):
   USE ONLY
                                                                                                    Clerk, by:                  A. PEAGLER                  · ! b~puty
                                                                                                                                                                  Page 1 of 2
Form Adopted for Mandatory Use                                                                                                                     Code of Civil Procedure,
Judicial Council of California
                                                          REQUEST FOR ENTRY OF DEFAULT
                                                                                                                                                         §§ 585-587, 1169
CIV-100 [Rev. January 1, 2007]                                   (Application to Enter Default)
                                                                                    EXHIBIT C
                                                                                       53
           Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 40 of 89 Page ID #:1030
                                                                                                                                      CIV-100
                              THE PERFECT EVENT, INC., a California
            PLAINTIFFIPET1T10NER:                                                                          CASE NUMBER:
            Corporation d:ba: EXTREME ENTERTAINMENTx                                                       BC549408
-                                I
     DEFENDANT/RESPONDENT:
                                                                       -
4. Legal document assistant or unlawful det~iner assistant (Bus. & Prof. Code, § 6400 et seq.). A legal document assistant
   or unlawful detainer assistant      did       [:::J
                                               [:::J did not for compensation give advice or assistance with this form.
   (If declarant has received any help or advice for pay from a legal document assistant or unlawful detainer assistant, state):

      a. Assistant's name:                                                                         c. Telephone no.:
      b. Street address, city, and zip code:                                                       d. County of registration:
                                                                                                   e. Registration no.:
                                                                                                   f. Expires on (date):
5. [XJ Declaration under Code of Civil Procedure Section 585.5 (required for entry of default under Code Civ. Proc., § 585(a)).
        This action
   a. Dis [jLJ is not on a contract or installment sale for goods or services subject to Civ. Code,§ 1801 et seq. (Unruh Act).
   b. [ - ] is [XJ is not on a conditional sales contract subject to Civ. Code, § 2981 et seq. (Rees-Levering Motor Vehicle Sales
                            and Finance Act).
   c. D     is [jLJ is not on an obligation for goods, services, loans, or extensions of credit subject to Code Civ. Proc.,§ 395(b).
6. Declaration of mailing (Code Civ. Proc., § 587). A copy of this Request for Entry of Default was
   a. D     not mailed to the following defendants, whose addresses are unknown to plaintiff or plaintiffs attorney (names):

      b.    Li] mailed first-class,  postage prepaid, in a sealed envelope addressed to each defendant's attorney of record or, if none,
                  to each defendant's last known addre~7as follows:
                  (1) Mailed on (dale): November __, 2014              (2) To (specify names and addresses shown on the envelopes):
                                                                                 Todd Diamond
                                                                                 4114 Collwood Lane
                                                                                 San Diego, CA 92115




7. Memorandum of costs (required if money judgment requested). Costs and disbursements are as follows (Code Civ. Proc.,§ 1033.5):
   a. Clerk's filing fees . . . . . . . . . . . . . . .      $
   b. Process server's fees. . . . . . . . .                 $
   c. Other (specify): . . . . . . . . . . . . . . . . . . . $
   d.                ..... .. ... .           . ......... $
   e. TOTAL...          . ..................... $
   f. D     Costs and disbursements are waived.
   g. I am the attorney, agent, or party who claims these costs. To the best of my knowledge and belief this memorandum of costs is
      correct and these costs were necessarily incurred in this case.
I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date:

                                       (TYPE OR PRINT NAME)                                                (SIGNATURE OF DECLARANT)


8. D          Declaration of nonmilitary status (required for a judgment). No defendant named in item 1c of the application is in the
              military service so as to be entitled to the benefits of the Servicemembers Civil Relief Act (50 U.S.C. App. § 501 et seq).

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
    Date:


                                     (TYPE OR PRINT NAME)                                                (SIGNATURE OF DECLARANT)
Civ-100 [Rev. January 1, 2007]                                                                                                         Page2of2
                                                              REQUEST FOR ENTRY OF DEFAULT
                                                                  (Application to Enter Default)
                                                                           EXHIBIT C
                                                                              54
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 41 of 89 Page ID #:1031


                                                                                                '   "   "   '                                                POS-010
  ATTORNEY OR PARTY WITHOlJT ATTORNEY (Name, Slata Bae numbe1, and address):                  'i·                                  r:OR COURl US!:: ONLY
   Laura M. LeFeuvre, 291964
  Bradley & Gmelich
  700 N. Brand Blvd.
   Glendale, CA 91203-1422
        TELEPHONE ND.: (818) 243-5200
      A1TORN!!Y FOR {Name):       Plaintiff
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
  Superior Court of California, Los Angeles County
  111 N. Hill Street
  Los Angeles, CA 90012-3117

      PLAINTIFF/PETITIONER: The Perfect Event, Inc., a California Corporation                                   CASE NUMEER:

                                                                                                                BC549408
 DEFENDANT/RESPONDENT: Korey Bosworth, an Individual, et al.
                                                                                                                Rsr, No. or Flle No,;
                                     PROOF OF SERVICE OF SUMMONS                                                658-03490 - The Perfect Event

1. At the time of service I was a citizen of the United States, at least 1B years of age and not a party to this action.
2. I served copies of. Summons, Complaint, Civil Case Cover Sheet, Civil Case Cover Sheet Addendum and Statement of
                       Location, Notice'of Case Assignment-Unlimited Civil Case (Non-Class Action), Stipulations Package



3. a. Party served:               Todd Diamond an individual
                                                                                                                                        By Fax
    b. Person Served: John Doe (AAIM/5'9"1172lbsl30's)- Co-Occupant
4. Address where the party was served: 4114 Collwood Lane
                                       San Diego, CA 92115
5. I served the party
    b. by substituted service. On (date): 716/2014                   at(time): 3:00 PM            I le~the documents listed in item 2 with or
        In the presence at John Doe (AAIMl5'9"/172lbs/30's)
        (21 (home)       a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode
                         of the party. I informed him or her of the general nature of the papers.

    (4) A declaration of mailing is attached.
    (5) I attach a declaration of diligence stating actions taken first to attempt personal service.
6. The "Notice to the Person Served" (on the summons] was completed as follows:
   a. as an individual defendant.




7. Person who served papers
   a. Name:            Rodriqo Lora
   b. Address:         One Legal -194-Marln
                       504 Redwood Blvd #223
                       Novato, CA 94947
    c. Telephone number. 415-491-0606
    d. The fee for service was: $ BS.65
    e. I am:
          (3) registered California process server.
                (I) Employee or Independent contractor.
                Ill) Reqlstratlon No.: 479
                (Iii) County: SAN DIEGO
 8. I declare under penalty of perjury under the laws of lhe Untted States of Ame.rica and the Sta.le of California that the foreQo!n1=1 is true and correct.
 Date: 1013012014


                                    .Rodrloo Lora
                      CNAME OF PERSON I/I/HD SERVED PAPERS\                                                                 (SISNATURE)
  Form Adop\ed for Manda!ory Use                                                                                                            Colle of CMI Pro~~durn, § 417.10
Judicial Coun~il of Callfornls. POS.010
         [Plev, Jan 1, 200i]                              PROOF OF SERVICE OF SUMMONS
                                                                                                                                OL#7352643
                                                                           EXHIBIT C
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        Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 42 of 89 Page ID #:1032
                                                 ·.: :·.·                                                        .·                                .                                  ',   ':    ...   '



JATI.OR·N.EY OR. PARTY ~TH OUT ATI~RNEV                     {Name eild Add ms".);                                                IEU::PHONENO.:·                         · POR.CdURT Usi:; ONLY
, :.Layra M. L~Feuvre, 291964                                                                          ··· (818) 243,52QD
   Bradley & Gmellch
   700 N. Brand Blvd.
   Glendale. CA 91203-1422                                                                        I Ref. No. or Flla No.
 ATIORNEYl"OR \Name):             Plaintiff                                                           658-03490 - The Perfect Eve
  ltisertname olaiurt,fudicial dlst!f~t or braf'¥'11 court, if any:

  Superior Court of California, Los Angeles County
  111 N. Hill Street
  Los Angeles, CA 90012-3117
 PLAINTIFF:

 The Perfect Event, Inc., a California Corporation
 DEFENDANT:

 Korey Bosworth, an Individual, e! al.
                                                                                                                                                                    CASE NUMBER:
   PROOF OF SERVICE BY MAIL
                                                                                                                                                                                  BC549408

I am a citizen of the United States, over the age of 18 and not a party to the within action. My business address is 504 Redwood Blvd 11223,
Novato, CA 94947.



On 7/9/2014,            a~er     substituted service under section CCP 415.20(a) or 415.20(b) or FRCP 4(e)(2)(B) or FRCP 4(h)(1 )(B) was made, I mailed
copies of the:


Summons, Complaint, Civil Case Cover Sheet, Civil Case Cover Sheet Addendum and Statement of Location, Notice of Case
Assignment-Unlimited Civil Case (Non-Class Action), Stipulations Package

                                                                                                                                                                                 By Fax
ta the person ta be served at the place where the copies were left by placing a true copy thereof enclosed In a seated envelope, with First Class
postage thereon fully prepaid, In the United States Mall at Los Angeles, CA, California, addressed as follows:



Todd Diamond an Individual
4114 Callwoad Lane
San Diego, CA 92115


I am reedlly familiar with the firm's practice for collection and processing of documents for malling. Under that practice, it would be deposited
within the United States Postal Service, on that same day, with postage thereon fully prepaid, in the ordinary course of business. I am aware
that on motion of the party served 1 service is presumed invalid if postal cancellation date or postage meter date is more than one (1) day after
date of deposit for mailing In affidavit




                                                                                                                                                       __   ..-,.

                                                                                     I declare under penally of p'eijury uni;!_er the la.ws of the UnllBd States of America and the State
Fee for Service: $ 89.65
                                                                                     of California that the fo.regolng Is .true an-d'corre_~t~.ndJhat this declerat16n was executed on
                                                                                    ··· 1a1so120Rar LMi\nge10s;·caT1fiiiriia:·;;: .... ·:·,. ..


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Khari Wyatt
                                                                                                                 ""
One Legal -194-Marin
504 Redwood Blvd #223                                                                                     ,/
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Novato, CA 94947
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                                                                                                                                                             Khari Wyatt v '--··                           '-----1--··
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                                                                                                                                                                    DL# 7352643/
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        Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 43 of 89 Page ID #:1033

                                                                    . ··,                                     .   -   _·
  ATTORNEY OR.PARTY VVITHDUT ATIDRNEY. (Nai:ne and ~ddi-e:ss):                                                             TELEPHQNE.(-10.:                      FOR COURT USE ONLY ·          J

  Laura M. LeFeuvre, 291964                                                         'i''        (B1B) 243~5200                                                                          ' "'   (:. ,-.;
  Bradley & Gmellch                                                                                                                                                                                       ;

  700 N. Brand Blvd.
  Glendale, CA 91203-1422                                                          I   Rer: No. or file No.
  ATTORNEY FDR (Name):            Plaintiff                                          658-03490 - The Perfect Eve
  Insert name of wirl,]udidal distrlt:I or branch c:curt, if any:

  Superior Court of California, Los Angeles County
  111 N. Hill Street
  Los Angeles, CA 90012-3117
  PLAINTIFF:

 The Perfect Event, Inc., a California Corporation
  DEFENDANT:

 Korey Bosworth, an Individual, et al.
                                                                                                                                                         CASE NUMBER:
               DECLARATION OF
                 DILIGENCE                                                                                                                                   BC549408
 I received the within process on 7/2/2014 and that after due and diligent effort I have been unable to personally serve said party. The following
 itemization of the dates and times of attempts details the efforts required to effect personal service. Additional costs for diligence are
 recoverable under CCP §1033.5 (a)(4)(8).

            PARn'SERVEo: Todd Diamond an Individual




  (1) HOME: 4114 Collwood Lane, San Diego, CA 92115




 As enumerated below:

   7/3/2014 9:37 PM at address (1) above. No answer. No answer at door
   7/4/2014 7:14 AM at address (1) above. No answer. No answer at door
   715/2014 12:17 PM at address (1) above. No answer. No answer at door, quiet inside




                                                                      1deClare under penalty of perjury under the laws of the United States of America and the State of
                                                                      Callfomla that the foregoing !s trua and correct and that this declaratlon was executed on
                                                                      10/30/2014 at Los Angeles, Callfornla,

Registered California process server.
County: SAN DIEGO
Registration No.: 479
                                                                                                                                              Rodriga Lora
Rodrigo Lora
One Legal ~ 194-Marln
504 Redwood Blvd #223                                                                                                                                        OL# 7352643
                                                                                EXHIBIT C
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                  Exhibit D             *
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      1 GaiyJ.Bradley,Esq.,StateBarNo.144055
         gbradley@bglawyers.com
      2 John K. Flock, Esq., State Bar No. 200183
         jjlock@bglawyers.com
      3 LauraM. LeFeuvre, Esq., State Bai· No. 291964                   DEC .lO 2014
          Zl4euvre@bglawyers.com
      4 BRADLEY & GMELICH
        700 North Brand Boulevard, 10111 Floor
      5 Glendale, California 91203-1422
        Telephone:     (818) 243-5200
      6 Facsimile:     (818) 243-5266

      7 Attorneys for Plaintiff,
        THE PERFECT EVENT INC., dba EXTREME
      8 ENTERTAINMENT and
        EXTREME GREEKS
      9
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

                            COUNTY OF LOS ANGELES, CENTRAL DISTRICT


     12
          THE PERFECT EVENT INC., a California          Case No.: BC549408
     13   Co1poration dba EXTREME
          ENTERTAINMENT and EXTREME                     PLAINTIFF'S FIRST AMENDED
     14   GREEKS                                        COMPLAINT FOR DAMAGES AND
                                                        INJUNCTIVE RELIEF:
     15                Plaintiff,
                                                        l. MISAPPROPRIATION OF TRADE
     16          vs.                                       SECRETS;
                                                        2. BREACH OF WRITTEN
     17 KOREY BOSWORTH an Individual; TODD                 CONTRACT;            .
        DIAMOND an Individual; THE                      3. BREACH OF IMPLIED CONTRACT;
     18 NORTHWESTERN MUTUAL LIFE                        4. CONVERSION;
        INSURANCE COMPAl"lY, a                          5. BREACHOFDUTYOF LOYALTY;
     19 Wisconsin Corporation; SUPREME GREEKS,          6. VIOLATION OF COMPUTER
        a business entity, form unlmown; SD GREEK          FRAUD AND ABUSE ACT;
     20 LIFE, a business entity, form unknown; and      7. TRADEMARK INFRINGEMENT;
        DOES 1 tln·ough 50, Inclusive,
     21                                                 DEMAND FOR TRIAL BY JURY
                       Defendants.
     22

     23
     24          Plaintiff, THE PERFECT EVENT INC., dba EXTREME ENTERTAINMENT and

     25 EXTREME GREEKS ("Plaintiff' or "Extreme") hereby files its Complaint against KOREY

     26 BOSWORTH, TODD DIAMOND, THE NORTHWESTERN MUTUAL LIFE INSURANCE
     27   COMPANY, SUPREME GREEKS, and SD GREEK LIFE (collectively "Defendants"), as

     28   follows:

                                                        1
                       FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
                                            EXHIBIT D
                                               58
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                                        JURISDICTION AND VENUE

                1.     This judicial district is the proper venue for this action because a written

        agreement upon which this Complaint is based required performance in this judicial district, and

        the wrongful acts underlying this action were committed in this judicial district. The State of

        California has jurisdiction over Defendants because each resides or conducts business in the State

        of California, and their wrongful conduct occurred and continues to date in the State of

        California.

                                                 THE PARTIES

                2.     Plaintiff THE PERFECT EVENT INC., dba EXTREME ENTERTAINMENT and

        EXTREME GREEKS ("Plaintiff' or "Extreme") is a corporation duly organized under the laws

        of the State of California. Extreme is authorized to conduct business in California.

                3.     Plaintiff is informed and believes that Defendant KOREY BOSWORTH

        ("Bosworth") is an individual residing in the County of Los Angeles, State of California, who

        conducts business in California as a co-owner of SUPREME GREEKS and SD GREEK LIFE

        ("Supreme Greeks") operating in the County of San Diego, State of California. Bosworth also

        conducts business in California as a financial representative for NORTHWESTERN MUTUAL

        LIFE INSURANCE COMPANY ("Northwestern") at 515 S. Flower St Fl. 33, Los Angeles, CA

        90071-2201 in the County of Los Angeles, State of California.

                4.     Plaintiff is informed and believes that Defendant TODD DIAMOND ("Diamond")

        is an individual residing in the County of San Diego, State of California. Diamond was an

        employee of Extreme until his resignation on or about January 15, 2014, at which time Plaintiff is

        informed and believes that he became an equity partner of Supreme Greeks and/or SD Greek

        Life.

                5.     Plaintiff is informed and believes that Defendant Northwestern is a corporation

        duly organized under the laws of the State of Wisconsin. Northwestern is authorized to conduct

        business in California, and its agent for service of process is located at 1425 River Park Drive,

        Suite 100, Sacramento, California 95815, in the County of Sacramento, State of California.

        Plaintiff is informed and believes and thereon alleges that at all times herein mentioned Bosworth
                                             EXHIBIT D
                                                  59      2
                      FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        had an agency relationship with Northwestern, and Northwestern placed him in a position of trust

        and confidence, and provided him authority to elicit information from Plaintiff.

                6.         Each ofNorthwestern's principles, managers, and managing agents authorized,

        ratified and/or directly participated in the acts alleged herein.

                7.         Plaintiff is informed and believes that Defendant Supreme Greeks is a business

        entity, form unknown, and is authorized to do business in the State of California. Each of its

        principles, managers, managing agents, authorized, ratified and/or directly participated in the acts

        alleged herein.

                8.         Plaintiff is informed and believes that Defendant SD Greek Life is a business

        entity, form unknown, and is authorized to do business in the State of California. Each of its

        principles, managers, managing agents, authorized, ratified and/or directly participated in the acts

   12   ·alleged herein.

   13           9.         Plaintiff is ignorant of the true names and capacities, whether individual, associate,

   14   partnership, corporate, or otherwise, of the Defendants designated herein as Does 1 through 50,

   15   inclusive, and therefore sues those Defendants by these fictitious names. Plaintiff is informed

   16   and believes, and on that basis alleges, that Does 1 through 50, in some way unknown to Plaintiff,

   17   are responsible for the acts and omissions alleged in this Complaint and have incurred liability to

   18   Plaintiff therefore. Plaintiff will amend this Complaint to allege the true names and capacities of

   19   Does 1 through 50 upon discovery thereof.

   20           10.        Plaintiff is informed and believes and thereon alleges that at all times herein

   21   mentioned each of the Defendants was the agent and employee of each of the remaining

   22   Defendants, and in doing the things hereinafter alleged, was acting within the course and scope of

   23   such agency and employment. Each of its principles, managers, managing agents, authorized,

   24   ratified and/or directly participated in the acts alleged herein.

   25                                        GENERAL ALLEGATIONS

   26          A.      Plaintiff's Business.

   27           IO.        Plaintiff provides event planning and production services marketed specifically to

   28   college and university groups in Southern California. These groups have very particular needs
                                                EXHIBIT D
                                                   60     3
                       FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        when conducting events, including transportation, photography and video services,

        lighting/sound/staging, security staff, and venues. Plaintiff developed a confidential and

        proprietary method of providing and consolidating these services by establishing specialized

        relationships and contractual agreements with their service providers. The niche Plaintiff created

        was to establish a one-stop shop such that the group desiring such services could contract with

        Plaintiff: who would then provide or subcontract all of the services. Plaintiff spent over a decade

        establishing relationships with these specialized vendors, obtaining specialized licenses

        (including, but not limited to, a Private Patrol Operator's license), appropriate insurances, and

        purchasing and storing specialty equipment. Plaintiffs efforts resulted in a multi-million dollar

        company with a substantial enterprise value. Clients with which Plaintiff has contracted to

        provide services have been and are loyal to Plaintiff because Plaintiff is familiar with, and has

        extensive experience and knowledge in this specialized area of service.

                11.    Among the more difficult issues in achieving success in Plaintiffs industry is

        locating transportation vendors and venue managers who are willing to serve the college

        community. In fact, the identification of these companies and the relationships Plaintiff has

        established with the individuals employed by such vendors in Southern California is one of

        Plaintiffs most carefully guarded trade secrets. Plaintiff worked long and hard to establish,

        maintain, and guard these relationships as well as the specific terms and conditions it has

        negotiated with such vendors.

                12.    Plaintiff has invested substantial time, effort, and money to develop both a

        customer list and substantial contacts and relationships with numerous venues, clients, and

        potential clients, in Southern California, including, but not limited to San Diego County. Plaintiff

        has also spent significant time and expense in its employee recruiting efforts in order to provide

        quality staff and managers to service Plaintiffs clients.

                13.    An integral part of Plaintiffs business is the identification and retention of those

       employees, customers and clients who seek specialized event planning services.

                14.    In order to identify and retain clients, Plaintiff seeks to develop client loyalty by

       expending substantial efforts and resources to establish goodwill and relationships.
                                            EXHIBIT D
                                                 61      4
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                15.     The market for such specialized event planning services is limited.

              B.      Plaintiff's Trade Secrets and Confidential Information.

                16.    In order to efficiently and profitably run its business, Plaintiff necessarily uses

       substantial confidential and proprietary information and trade secrets, including detailed customer

       lists, vendor lists, venue lists, billing rates, and employee information.

                17.    Plaintiff has invested significant amounts of time, energy, money, and resources to

        the development of proprietary and confidential information, including, but not limited to,

        compensation data, customer lists, vendor lists, venue lists, financial information, marketing

        strategies, pending projects and proposals, research and development strategies, technological

        data, company philosophy, methods of operation, pricing structures, staffing models, employee

        training procedures and manuals, security plans, billing practices, price models, and staffing

        models (collectively, "Trade Secrets and Confidential Information"). Plaintiff has also worked

        intensely on establishing relationships with customers and vendors which are reflected in

        confidential documents. The relationships with customers and vendors cultivated over a period

        of time is in the nature of a proprietary interest that can be protected.

                18.    Plaintiffs Trade Secrets and Confidential Information provide Plaintiff with a

        competitive advantage because the information enables Plaintiff to focus its business on

        customers and clients who are likely to become repeat business, refer other customers and clients,

        and further enable Plaintiff to grow its business. Furthermore, Plaintiff expends a significant

        amount of effort, time, money, and resources developing goodwill and client relationships. Some

        clients have specific preferences, which are recorded by Plaintiff to ensure the best service

        possible to a particular client. The security officers, DJs, videographers, supervisors, and

        operations managers employed by Plaintiff are necessarily aware of these private arrangements

        and can unfairly exploit these arrangements if they work for a competitor, or attempt to convince

        clients to cease doing business with Plaintiff.

              C.      Defendants' Wrongful Conduct.

                       I.     BOSWORTH:

                19.     Several years ago, Bosworth worked for Plaintiff as a security officer. During his
                                            EXHIBIT D
                                                62      5
                       FIRST AMENDED COMPLAINT FOR DAMAGES AND INTIJNCTIVE RELIEF
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        employment, he was exposed to Plaintiffs business practices and methodology, yet he was

        screened from the most sensitive information of Plaintiffs operations.

               20.     Sometime later, Bosworth pursued a career in financial services and was hired by

        Northwestern as a financial representative. Beginning in or around June 2013, Bosworth began a

        concerted effort to solicit Plaintiffs business. At first, it appeared as if Bosworth was simply

        aggressively marketing Northwestern's financial services. It was later determined that he was

        actually trying to build his own business to compete with Plaintiff by obtaining confidential

        information and the offer of financial services was merely a ruse. In fact, the offer came at least

        six (6) months after Bosworth and Diamond began to conspire against Plaintiff.

               21.     Bosworth contacted Plaintiffs owner Dan Wilson ("Wilson") on numerous

        occasions to schedule a meeting with him. Bosworth stated the purpose of the meeting was to see

        what, if any, financial services Northwestern could offer Plaintiff. In response, Wilson advised

        that Plaintiff already had a financial services representative. Nevertheless, Bosworth was

        undaunted and after numerous solicitations, convinced Wilson to meet in order to determine what

        financial services Northwestern could offer.

               22.     On July 15, 2013, Wilson met with Bosworth and another agent of Northwestern,

        James Verzino ("Verzino"). Prior to the meeting, Wilson was instructed to bring numerous

        documents with him related to Plaintiffs business operations. Wilson attended the meeting in

        good faith with the understanding that any matters discussed would remain confidential.

        However, Bosworth attended the meeting with ulterior motives. Despite the ethical and legal

        obligation to do so, neither Bosworth nor Verzino disclosed that Bosworth had an actual and

        material conflict of interest in the form of an existing competing business, or that Bosworth was

        already working with one of Plaintiffs employees, Diamond.

               23.     In the years since Bosworth left his employment with Plaintiff, he opened a

        competing business by duplicating Plaintiffs business model in every detail. The Perfect Event,

        Inc. operates under the trade name "Extreme Greeks." Bosworth operates his business under the

        trade names "Supreme Greeks" and "SD Greek Life." A review of their websites reveals that the

   28   business models are virtually identical.
                                             EXHIBIT D
                                                63     6
                      FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                24.        At the July 15, 2013 meeting, Bosworth queried Wilson on the most confidential

        and intimate details of Plaintiff's business operations and practices. Among the topics Wilson

        was urged to disclose were: identification of key employees; salaries of key employees; volume

        and profit figures; cost of services; expansion plans; marketing strategies; identification of key

        vendors, including photographers, security staff, videographers, venues, and transportation

        companies; equipment Extreme owned, and was intending on acquiring to be used during events;

        location and detailed terms of the relationship between Extreme and the very limited pool of

        venues that Extreme works with; and detailed aspects of how Extreme conducts its business

        affairs. Of particular note was the repeated questioning of Wilson regarding Extreme's San

        Diego operations, including how long it took the company to train one of its most valued

        employees, Diamond, to manage that office.

                25.        Wilson was reluctant to share this information because these details are highly

        confidential and were developed over many years of concerted and directed effort. After

        repeated questioning, Wilson made these disclosures confidentially, and with the reasonable

        expectation that the disclosures would not be used against him or Plaintiff. Such disclosures were

        revealed with the belief that Bosworth was helping Plaintiff cultivate specific employee

        retirement, incentive, and retention plans through a deferred payout account, centralized health

        insurance, HSA's and other financial tools. Certainly, had Wilson known that the very individual

        to whom he was making such disclosures was operating a competing business, he never would

        have done so.

                26.        Over the following months, Bosworth began to expand his competing business in

        earnest once he had tricked Wilson into disclosing the roadmap about how the business could

        operate and grow. It is noteworthy that Supreme Greeks initially focused its operations in Texas.

        However, shortly after the July 15, 2013 meeting, SD Greek Life commenced operations in San

        Diego, California. The very same market in which Plaintiff had worked to establish for over

        three (3) years.

                27.        Bosworth also wronged Plaintiff by directly soliciting Extreme's San Diego

        manager, Diamond, to join Bosworth's competing business. It appears Bosworth and Diamond
                                         EXHIBIT D
                                              64     7
                        FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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        have been in contact since January 2013, while Diamond was still employed by Plaintiff. On or

        about January 15, 2014, Diamond abruptly resigned from Extreme. Bosworth is currently

        attempting to usurp each and every one of Extreme's clients in the San Diego area and convince

        Extreme' s employees to terminate their business relationships with Extreme.

               28.     Confidential information was disclosed to Bosworth by a combination of Diamond

        violating the terms of his trade secret and nondisclosure agreement and information that Wilson

        disclosed to Bosworth while Bosworth was pretending to offer financial advice and services.

        There is little doubt that Diamond and Bosworth conspired to irreparably damage Plaintiff.

                      2.      DIAMOND:

               29.     Diamond was a key employee of Plaintiff, who eventually became manager of

        Plaintiff's San Diego branch. At all times he owed a duty of loyalty to Plaintiff.

               30.     On or about January 4, 2010, Diamond executed an agreement entitled Employee

        Non-Disclosure Agreement (the "Agreement"). Under the Agreement, he promised to refrain

        from misappropriating Extreme's confidential information, using its trade secrets, and soliciting

        its employees and clients. (Attached hereto as Exhibit "A.")

               31.     It has since become clear that Diamond violated numerous terms of the

        Agreement, as well as California law. Diamond contacted numerous clients, employees, and

        vendors of Extreme in an attempt to divert business. Diamond was working for Supreme Greeks

        and/or SD Greek Life at the same time that he was working for Extreme, and he hijacked

        Extreme's entire business model in direct violation of the Agreement.

               32.     On or about January 15, 2014, Diamond abruptly resigned from Extreme. At the

        time, Diamond stated that he was planning to move to Texas to pursue a another employment

        opportunity. However, he was uncharacteristically tight-lipped about who he would be working

        for and in what industry. In an effort to retain Diamond, Wilson attempted to renegotiate the

        terms of his employment and offered him a substantial salary increase. On or about January 14,

        2014, Diamond agreed to remain working for Extreme, but the following day Diamond reversed

   27   himself and resigned a second time.

   28          33.     At the time of his resignation, Diamond indicated that he was becoming an equity
                                              EXHIBIT D
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        partner in a business in Texas. It has since been discovered that he instead became an equity

        partner of Supreme Greeks and/or SD Greek Life, and at all times following his resignation acted

        in his individual capacity, and on behalf of Supreme Greeks and/or SD Greek Life.

               34.     Also in January 2014, Diamond's assistant manager Chris Johnson indicated that

        Diamond was working with Bosworth and Supreme Greeks and/or SD Greek Life. In addition,

        Wilson found emails to and from Diamond's company email address showing evidence of him

        working for Supreme Greeks and/or SD Greek Life while he was employed by Extreme in

        violation of California Labor Code §2863. Moreover, continuing emails sent to Diamond's

        account indicate that he has taken events that he started planning while at Extreme, and

        unlawfully converted them for the benefit of Supreme Greeks and/or SD Greek Life.

               35.     Diamond has contacted Extreme's San Diego clients and vendors and converted

        these business opportunities to Supreme Greeks and/or SD Greek Life. Diamond has also

        recruited employees of Extreme such as Chris Johnson to work for Supreme Greeks and/or SD

        Greek Life. Moreover, Diamond may have transmitted Extreme' s insurance and PPO license

        information to prospective clients of Supreme Greeks and/or SD Greek Life.

               36.     Diamond, and/or a professional hired by Diamond, intentionally deleted client

        information and other confidential data from Extreme' s main computer at its San Diego location.

        It appears that on or about January 20, 2014, five (5) days after Diamond resigned, the

        computer's hard drive was entirely wiped clean and a new operating system installed, leaving

        recovery of any data virtually impossible. These acts were performed by Diamond in his

        individual capacity, and on behalf of Supreme Greeks.

               3 7.    Diamond also converted Plaintiffs property, specifically a Dell computer that was

        purchased by Plaintiff for use in their San Diego office. Upon Diamond's resignation the

        computer was not returned to Plaintiff, and Plaintiff is informed and believes that Diamond

        converted it to his own use and the use of Supreme Greeks and/or SD Greek Life.

                      3.     NORTHWESTERN:

               38.     Plaintiff is informed and believes that Bosworth is a financial representative in an

        agency relationship with Northwestern. Plaintiff is informed and believes that financial
                                            EXHIBIT D
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        representatives are required to make recommendations that are consistent with their customers'

        best interests, not the representative's own financial benefit. Bosworth made no efforts to

        conceal his affiliation with Supreme Greeks from Northwestern. Moreover, it appears that

        Verzino and Northwestern were fully aware of Bosworth' s competing business well in advance

        of the meeting with Wilson. Verzino, as a licensed agent, had an obligation to investigate who he

        and Bosworth were meeting with and advise Wilson of the conflict of interest before the

        disclosures were made.

               39.     Northwestern and its financial representatives are required to keep clients' and

        potential clients' information confidential. Plaintiffs confidential information and documents

        should have only been used within the context of Northwestern providing financial services and

        advice. Instead, Bosworth failed to keep the information he learned in his financial representative

        capacity confidential, and instead disclosed the information to others and used it for his

        competing businesses, Supreme Greeks and SD Greek Life.

               40.     Northwestern failed to provide adequate training to both Bosworth and Verzino

        about their ethical obligations as well as their disclosure duties to potential clients. Bosworth

        intentionally concealed his conflict of interest from Plaintiff, and appropriated the Trade Secrets

        and Confidential Information of a potential client for his own use. Bosworth's acts were

        committed within the course and scope of his agency relationship with Northwestern.

                      4.      SUPREME GREEKS AND SD GREEK LIFE:

               41.     Supreme Greeks and/or SD Greek Life operate based on Trade Secrets and

        Confidential Information unlawfully extracted from Wilson by Bosworth, who posed as a

        financial representative. Furthermore, Supreme Greeks and SD Greek Life induced Diamond to

        breach his agreement with a competitor, made him an equity partner, and has profited from

        Diamond's inside information. Supreme Greeks and SD Greek Life was on notice that Diamond

        had unlawfully misappropriated client lists, business models, and other trade secrets, and any use

        of that information by Supreme Greeks and SD Greek Life subjects it to liability. Supreme

        Greeks and SD Greek Life has been using Plaintiffs business model, and has contacted

        Plaintiffs clients and venues and inferred with existing business relationships. Supreme Greeks
                                             EXHIBIT D
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    1   and S.D Greek Life has profited from Plaintiffs trade secrets, and has demonstrated a variety of

    2   unfair and unlawful business practices.

    3                                      FIRST CAUSE OF ACTION

    4                       (Misappropriation of Trade Secrets Against all Defendants)

    5           42.     Plaintiff re-alleges and incorporates by reference each and every allegation

    6   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

    7           43.     The acts of Defendants constitute misappropriation of trade secrets, as defined in

    8   California Civil Code §3426, et seq., and is a violation of the California Uniform Trade Secrets

    9   Act.

   10           44.     At all times during his employment with Plaintiff, Diamond was in possession of

   11   and had access to Plaintiffs Trade Secrets and Confidential Information as more specifically set

   12   forth in Paragraphs 1 through 41, above. Bosworth came into possession of Plaintiffs trade

   13   secrets by acting as a financial representative for Northwestern without disclosing his conflict of

   14   interest, or maintaining his prospective client's confidential disclosures, as more specifically set

   15   forth in Paragraphs I through 41, above. Supreme Greeks and SD Greek Life was on notice that

   16   Diamond and Bosworth unlawfully misappropriated client lists, business models, and other trade

   17   secrets and has used those secrets its business operations. Compilation of the Trade Secrets and

   18   Confidential Information was the result of a substantial amount of time, effort, and money on the

   19   part of Plaintiff in the operation of their business. Furthermore, establishing goodwill and client

   20   relationships was also a result of a substantial amount of time, effort, and money on the part of

   21   Plaintiff in the operation of their business.

   22           45.     It appears that Bosworth and Diamond began a business relationship in January of

   23   2013, while Diamond was still employed by Plaintiff, and the two parties worked together to

   24   obtain Plaintiffs trade secrets.

   25           46.     The Trade Secrets and Confidential Information had, and continue to have,

   26   economic value in that they constitute and/or contain information not generally !mown to the

   27   public or persons who could obtain economic value from its disclosure, and represent substantial

   28   research and confidential communications between Plaintiff and their potential and existing
                                              EXHIBIT D
                                                 68    11
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        customers.

               47.     Plaintiff has made every effort to ensure that the Trade Secrets and Confidential

        Information remain secret and confidential property. For example, Plaintiff had Diamond and

        other employees sign a non-disclosure agreement. Plaintiff has had a longstanding policy that all

        information relating to communications, financial information and contracts with customers and

        potential customers, and their identities, is confidential and should be kept confidential by all of

        Plaintiffs employees, both during employment and after termination of employment.

               48.     The goodwill and client relationships established by Plaintiff had, and continue to

        have, economic value in that they constitute years of effort and resources expended by Plaintiff in

        order to establish them.

               49.     As alleged in Paragraphs 1 through 41 above, Defendants have misappropriated,

        and continue to misappropriate, Plaintiffs Trade Secrets and Confidential Information.

        Defendants have used, and continue to use, the Trade Secrets and Confidential Information to

       their own benefit and to the detriment of Plaintiff. Their actions have already caused Plaintiff to

        suffer losses in an amount according to proof at trial.

               50.     As a direct result of Defendants' wrongful acts, Plaintiff has suffered and

       continues to suffer, among other things, general and special damages in accordance with proof,

       which are above the jurisdictional limit of this Court.

               51.     Plaintiff is informed and believes, and on that basis alleges, that Defendants acted

       intentionally in conscious disregard of the rights of Plaintiff, with fraud, malice and oppression,

       in that they knew that their acts and conduct, as alleged hereinabove, were unjustified and would

       result in severe financial and economic injury to Plaintiff and intentionally kept such acts secret

       from Plaintiff. Accordingly, Plaintiff is entitled to an award of punitive damages against

        Defendants. The amount of such punitive damages should be determined at the time of trial of

       this action.

                                        SECOND CAUSE OF ACTION

                                   (Breach of Written Contract Against Diamond)

               52.     Plaintiff re-alleges and incorporates by reference each and every allegation
                                             EXHIBIT D
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        1    contained in Paragraphs 1 through 41, above, as though set forth in full herein.

        2           53.     The Agreement executed by Diamond, among other things, stated that he would

        3 keep confidential, both during and after his employment relationship with Plaintiff, all of the

        4   Trade Secrets and Confidential Information belonging to Plaintiff. By executing the Agreement,

        5   Diamond understood and agreed that information that was supplied to him, including but not

        6 limited to Plaintiffs client lists, employee data, billing records, invoices, schedules, and other
 ~


 t3     7 confidential information, were trade secrets, and were provided in confidence for the sole purpose
 ::i
c.3     8   of facilitating his duties as an employee of Plaintiff, and was not to be disclosed, in whole or in

        9 part, to any person.
 ~~    10           54.     Plaintiff has performed all conditions, covenants, and promises required of it
 Cl
 ~     11   under the terms of the Agreement.
>=Q
       12           55.     Diamond breached the Agreement by, among other things: disclosing the inner

       13   workings of Plaintiffs operations; secretly gathering Trade Secrets and Confidential Information

       14   about Plaintiffs customers and their confidential customer information needs while still

       15   employed by Plaintiff for the purpose of soliciting those customers after he separated from

       16    employment with Plaintiff; failing to maintain the confidence of Plaintiffs Trade Secrets and

       17    Confidential Information, and using client lists and/or information by providing such information

       18   to Supreme Greeks; secretly soliciting Plaintiffs customers and employees, for the benefit of

       19    Supreme Greeks, or other competitors of Plaintiff.

       20           56.     As a direct result of the actions of Diamond, as alleged in Paragraphs 1 through

       21   41, above, and in this cause of action. Plaintiff has suffered actual damages in an amount to be

       22   determined according to proof at trial.

       23                                     TIDRD CAUSE OF ACTION

       24                              (Breach of Implied Contract Against Diamond)

       25           57.     Plaintiff re-alleges and incorporates by reference each and every allegation

       26   contained in Paragraphs 1 through 41, above, as though set forth in full herein.

       27           58.     Pursuant to Civil Code §1619 et seq. a contract may be implied by the conduct of

       28   the parties to it. Upon being hired, Diamond promised he would keep confidential, both during,
                                                  EXHIBIT D
                                                     70    13
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        and after, his employment relationship with Plaintiff all of the Trade Secrets and Confidential

        Information belonging to Plaintiff. Diamond understood and agreed that information that was

        supplied to him, including but not limited to Plaintiffs client lists, vendor lists, employee data,

        billing records, invoices, schedules, and other confidential information, were trade secrets, and

        were provided in confidence for the sole purpose of facilitating his duties as an employee of

        Plaintiff, and was not to be disclosed, in whole or in part, to any person.

                59.     Each party intended that a contract be formed, and acted as though a contract had

        been formed. The parties reduced the agreement to writing.

                60.     Diamond breached the implied contract between the parties by, among other

        things: disclosing the inner workings of Plaintiffs operations; secretly gathering Trade Secrets

        and Confidential Information about Plaintiffs customers and their confidential customer

        information needs while still employed by Plaintiff for the purpose of soliciting those customers

        after he separated from employment with Plaintiff; failing to maintain the confidence of

        Plaintiffs Trade Secrets and other Confidential Information, and using client lists and/or

        information by providing such information to Supreme Greeks and/or SD Greek Life; secretly

        soliciting Plaintiffs customers and employees, for the benefit of Supreme Greeks and/or SD

        Greek Life, or other competitors of Plaintiff.

                61.     As a direct result of the actions of Diamond, as alleged in Paragraphs 1 through

        41, above, and in this cause of action. Plaintiff has suffered actual damages in an amount to be

        determined according to proof at trial.

                                        FOURTH CAUSE OF ACTION

                      (Conversion Against Diamond, Supreme Greeks, and SD Greek Life)

                62.     Plaintiff re-alleges and incorporates by reference each and every allegation

        contained in Paragraphs 1 through 41, above, as though set forth in full herein.

                63.     Plaintiff purchased a Dell computer for use in their San Diego office. While

        Diamond was permitted to use the computer as part of his employment, it was at all times owned

        by Plaintiff and constitutes Plaintiffs personal property.

                64.     Upon Diamond's resignation, the computer was not returned to Plaintiff, and
                                              EXHIBIT D
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        Plaintiff is informed and believes that Diamond, acting in his individual capacity and as an agent

        of Supreme Greeks and/or SD Greek Life, took the computer with him when he resigned, and

        converted it to his own use and the use of Supreme Greeks and/or SD Greek Life.

               65.     As a direct and proximate result of the conversion by Diamond, Plaintiff has been

        damaged in an amount according to proof to be determined at the time of trial.

               66.     Diamond acted intentionally and in conscious disregard of the rights of Plaintiff

        with fraud, malice and oppression, in that he knew that his acts and conduct, as alleged in

        Paragraphs 1 through 41 above, were unjustified and would result in injury to Plaintiff.

        Accordingly, Plaintiff is entitled to an award of punitive damages against Diamond. The amount

        of such punitive damages should be determined at the time of trial.

                                         FIFTH CAUSE OF ACTION

              (Breach of Duty of Loyalty in Violation of Labor Code §2863 Against Diamond)

               67.     Plaintiff re-alleges and incorporates by reference each and every allegation

        contained in Paragraphs 1 through 41, above, as though set forth in full herein.

               68.     Diamond was an employee and branch manager of Extreme, with knowledge of its

        business model, clients, and other Confidential Information, and as such owed a statutory duty of

        loyalty to the company. Pursuant to Labor Code §2863, "an employee who has any business to

        transact on his own account, similar to that intrusted to him by his employer, shall always give

        the preference to the business of the employer."

               69.     Diamond knowingly acted on his own account and against Extreme's interests in

        connection with his role as manager, by working for a competitor for over a year while still being

        employed at Extreme; misappropriating confidential information, disclosing client lists, business

        models, Trade Secrets and other Confidential Information to Supreme Greeks and/or SD Greek

        Life, deleting data from Extreme's computers; and soliciting clients away from Extreme.

               70.     As a direct and proximate result of Diamond's breach of loyalty, Plaintiff has been

        damaged in an amount according to proof to be determined at the time of trial.

               71.     Diamond acted intentionally and in conscious disregard of the rights of Plaintiff

        with fraud, malice and oppression, in that he knew that his acts and conduct, As alleged in
                                            EXHIBIT D
                                                 72     15
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        Paragraphs 1 through 41 above, were unjustified and would result in severe financial and

        economic injury to Plaintiff, and intentionally kept such acts secret from Plaintiff. Accordingly,

        Plaintiff is entitled to an award of punitive damages against Diamond. The amount of such

        punitive damages should be determined at the time of trial.

                                          SIXTH CAUSE OF ACTION

        (Violation of Computer Fraud and Abuse Act Against Diamond, Supreme Greeks, and SD
                                            Greek Life)

                72.      Plaintiff re-alleges and incorporates by reference each and every allegation

        contained in Paragraphs 1 through 41, above, as though set forth in full herein.

                73.      Diamond, in his personal capacity and on behalf of Supreme Greeks and/or SD

        Greek Life, intentionally accessed Plaintiffs computer without authorization and obtained

        confidential information from a protected computer used in and affecting interstate commerce or

        communication, in violation of The Computer Fraud and Abuse Act (18 USC § 1030).

                74.     Diamond and Supreme Greeks and/or SD Greek Life committed the act of

        accessing Plaintiffs computer for their own commercial advantage and private financial gain.

                75.      Their act of accessing Plaintiffs computer was in furtherance of Diamond and

        Supreme Greeks and/or SD Greek Life's other tortious acts described above, including but not

        limited to, misappropriation of trade secrets and conversion.

                76.     The value of the information obtained from Plaintiffs protected computer exceeds

        $5,000.00, and Plaintiff has been damaged in an amount according to proof to be determined at

        the time of trial.

                                        SEVENTH CAUSE OF ACTION

            (Trademark Infringement Against Bosworth, Supreme Greeks, and SD Greek Life)

                77.     Plaintiff re-alleges and incorporates by reference each and every allegation

        contained in Paragraphs 1 through 41, above, as though set forth in full herein.

                78.     Plaintiff is the owner of the fictitious business name "Extreme Greeks" and filed

        said name on January 29, 2007. Bosworth did not file the fictitious business name "Supreme

        Greeks" until March 9, 2012.

                                              EXHIBIT D
                                                 73    16
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                 79.    Plaintiff use the name "Extreme Greeks" in connection with their services, and the

         name has become an intrinsic and essential part of the valuable goodwill and property of Plaintiff.

         The name is well known and established to customers and identifies and distinguishes Plaintiffs

         distinctive high quality services from all others.

                 80.    The name "Supreme Greeks" is substantially similar, and is very likely to cause

         confusion, mistake, or deception as to the source, affiliation, sponsorship, or authenticity of

         Defendants' services.

                 81.    In addition the name "SD Greek Life" is substantially similar and is very likely to

         cause confusion, mistake, or deception as to the source, affiliation, sponsorship, or authenticity of

         Defendants' services. Extreme has consistently used the "Greek" name in relation to its event

         services for college sororities and fraternities, and "SD Greek Life" would be very confusing.

                 82.    Defendants' infringement of Plaintiffs name is willful, and intended to reap the

         benefit of the goodwill of Plaintiff

                 83.    As a direct and proximate result of Bosworth and Supreme Greeks and/or SD

         Greek Life's wrongful acts, Plaintiff has suffered and continues to suffer, among other things,

         general and special damages according to proof, which are above the jurisdictional threshold of

        this Court.

                                                PRAYER FOR RELIEF

               As to Plaintiffs First Cause of Action, Plaintiff prays for judgment, as follows:

                1.     An injunction restraining and enjoining Defendants for two (2) years from:

                       (i)       soliciting, whether directly or indirectly, and whether alone or in concert

        with others, any business from any of Plaintiffs clients or customers whose names became known

   23 to Diamond and/or Bosworth;

   24                  (ii)      continuing to serve the clients that they have already diverted from Plaintiff

   25   through their unlawful acts;

   26                  (iii)     using, disclosing, transmitting, and continuing to possess for any purpose

   27 Plaintiffs trade secrets and confidential information, including, but not limited to, the client and

   28   customer lists that Defendants have obtained;
                                                EXHIBIT D
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    1                   (iv)    altering, removing, destroying, erasing, or deleting any evidence, including

    2   without limitation, hard copy documents and information residing in personal and business

    3   computer drives, relating to Plaintiff and any of Defendants' activities in connection with Plaintiff

    4   or Plaintiffs clients and customers;

                        (v)     inducing or attempting to induce any of Plaintiffs present, former, or

        prospective clients and customers whose identities became !mown to Defendants through the acts

        of Diamond and/or Bosworth to terminate their financial relationships with Plaintiff; and

                        (vi)    inducing or attempting to induce any of Plaintiffs employees to leave

        Plaintiffs employ for the purposes of joining any competitor of Plaintiff;

                 2.     An order requiring Defendants to immediately return to Plaintiff all originals and/or

        copies of any of its documents, records, computer files, databases, customer lists, information, or

        other materials of a confidential or proprietary nature presently in Defendants' possession or under

   13   Defendants' control;

   14            3.     An order requiring Defendants to hold any assets unlawfully obtained as alleged

   15   herein in constructive trust for the benefit of Plaintiff;

   16            4.     Disgorgement of all profits received by virtue of Defendants' wrongful conduct;

   17            5.     Compensatory, special and/or general damages in an amount to be determined at

   18   trial;

   19            6.     Punitive Damages;

   20            7.     Reasonable attorney's fees pursuant to Civil Code §3426.4;

   21            8.     Pre-judgment interest on any monetary award, as permitted by law;

   22            9.     All costs of suit herein incurred; and

   23            10.    For such other and further relief as the Court may deem just and proper.

   24            As to Plaintiffs Fourth, Fifth, and Seventh Causes of Action, Plaintiff prays for judgment,

   25   as follows:

   26            I.     An injunction restraining and enjoining Defendants for two (2) years from:

   27                   (i)     soliciting, whether directly or indirectly, and whether alone or in concert

   28   with others, any business from any of Plaintiffs clients or customers whose names became known
                                                EXHIBIT D
                                                   75    18
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    1 to Diamond and/or Bosworth;

    2                   (ii)    continuing to serve the clients that they have already diverted from Plaintiff

    3 through their unlawful acts;

    4                   (iii)   using, disclosing, transmitting, and continuing to possess for any purpose

    5 Plaintiffs trade secrets and confidential information, including, but not limited to, the client and

    6 customer lists that Defendants have obtained;

    7                   (iv)    altering, removing, destroying, erasing, or deleting any evidence, including

    8 without limitation, hard copy documents and information residing in personal and business

    9 computer drives, relating to Plaintiff and any of Defendants' activities in connection with Plaintiff

   10 or Plaintiffs clients and customers;

   11                   (v)     inducing or attempting to induce any of Plaintiffs present, former, or

   12 prospective clients and customers whose identities became !mown to Defendants through the acts

   13 of Diamond and/or Bosworth to terminate their financial relationships with Plaintiff; and

   14                   (vi)    inducing or attempting to induce any of Plaintiffs employees to leave

   15 Plaintiffs employ for the purposes of joining any competitor of Plaintiff;
   16           2.      An order requiring Defendants to immediately return to Plaintiff all originals and/or

   17 copies of any of its documents, records, computer files, databases, customer lists, information, or

   18 other materials of a confidential or proprietary nature presently in Defendants' possession or under
   19 Defendants' control;

   20           3.      An order requiring Defendants to hold any assets unlawfully obtained as alleged

   21   herein in constructive trust for the benefit of Plaintitl;

   22           4.      Disgorgement of all profits received by virtue of Defendants' wrongful conduct;

   23           5.      Compensatory, special and/or general damages in an amount to be determined at

   24 trial;

   25           6.      Punitive Damages;

   26           7.      Pre-judgment interest on any monetary award, as permitted by law;

   27           8.      All costs of suit herein incurred; and

   28           9.      For such other and further relief as the Court may deem just and proper.
                                                EXHIBIT D
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    1          As to Plaintiffs Second and Third Causes of Action, Plaintiff prays for judgment, as

    2 follows:

    3           1.     An injunction restraining and enjoining Defendants for two (2) years from:

    4                  (i)     soliciting, whether directly or indirectly, and whether alone or in concert

    5 with others, any business from any of Plaintiffs clients or customers whose names became !mown

    6 to Diamond and/or Bosworth;

    7                  (ii)    continuing to serve the clients that they have already diverted from Plaintiff

    8 through their unlawful acts;

    9                  (iii)   using, disclosing, transmitting, and continuing to possess for any purpose

   10 Plaintiffs trade secrets and confidential information, including, but not limited to, the client and
   11 customer lists that Defendants have obtained;

   12                  (iv)    altering, removing, destroying, erasing, or deleting any evidence, including

   13 without limitation, hard copy documents and information residing in personal and business

   14 computer drives, relating to Plaintiff and any of Defendants' activities in connection with Plaintiff

   15 or Plaintiffs clients and customers;

   16                  (v)     inducing or attempting to induce any of Plaintiffs present, former, or

   17 prospective clients and customers whose identities became known to Defendants through the acts

   18 of Diamond and/or Bosworth to terminate their financial relationships with Plaintiff; and

   19                  (vi)    inducing or attempting to induce any of Plaintiffs employees to leave

   20 Plaintiffs employ for the purposes of joining any competitor of Plaintiff;

   21          2.      An order requiring Defendants to immediately return to Plaintiff all originals and/or

   22 copies of any of its documents, records, computer files, databases, customer lists, information, or

   23   other materials of a confidential or proprietary nature presently in Defendants' possession or under

   24   Defendants' control;

   25          3.      An order requiring Defendants to hold any assets unlawfully obtained as alleged

   26 herein in constructive trust for the benefit of Plaintiff;

   27          4.      Disgorgement of all profits received by virtue of Defendants' wrongful conduct;

   28          5.      Compensatory, special and/or general damages in an amount to be determined at
                                              EXHIBIT D
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    1 trial;

    2          6.     Pre-judgment interest on any monetary award, as permitted by law;

    3          7.     All costs of suit herein incurred; and

    4          8.     For such other and further relief as the Court may deem just and proper.

    5          As to Plaintiffs Sixth Cause of Action, Plaintiff prays for judgment, as follows:

    6          1.     An injunction restraining and enjoining Defendants from further accessing any of

    7 Plaintiffs computers;

    8          2.     Compensatory, special and/or general damages in an amount to be determined at

    9 trial;

   10          3.     Pre-judgment interest on any monetary award, as permitted by law;

   11          4.     All costs of suit herein incurred; and

   12          5.     For such other and further relief as the Court may deem just and proper.

   13 Dated: December 10, 2014                    BRADLEY & GMELICH

   14
   15
                                                  By:
   16

   17
                                                               Laura M. LeFeuvre
   18

   19                                                   Attorneys for Plaintiff,
                                                        THE PERFECT EVENT INC., dba EXTREME
   20                                                   ENTERTAINMENT

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                                             EXHIBIT D
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    1                             DEMAND FOR TRIAL BY JURY

    2        Plaintiff, THE PERFECT EVENT INC., dba EXTREME ENTERTAINMENT and

    3 EXTREME GREEKS hereby demands trial of this matter by jury.

                                            BRADLEY & GMELICH




                                            By:
                                                     Gary J. B1 µdley
                                                     JohnK. Fbck
                                                     Laura M.   ~eFeuvre


                                                  Attorneys for Plaintiff,
                                                  THE PERFECT EVENT INC., dba EXTREME
                                                  ENTERTAINMENT




                                       EXHIBIT D
                                          79    22
                    FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 67 of 89 Page ID #:1057




                  Exhibit A             *
                                    EXHIBIT D
                                       80
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 68 of 89 Page ID #:1058




                           EMl'LQXEE NOJl!-l>ISCLOSPRE AGREEMENT

            THIS AGREEM~NT i~ made by and between Dan Wilson dba Extreme Greeks,
     ("Employer"), and     :1 ..
                          QJ~M/av\ ·         ("Employee"), effective as of the date set
     forth below.

             W11NESSETH: The parties hereto,. intending to be hereby legally bound, agree a.q
     follows:

             l.       General. The Employee may be receiving from Employer information of a non- ·
     p11blic nat11re for \Jlll) by the Employet:: in colll)ection with his or her employment by Employer.

             2.       Confidential lnfonµation Defined. The parties acknowledge that in the c~mrse
     of the employment of Employee, the .Employee may r~ive certain confidential information
     from or about Employer or its affiliates, including but not limited to technical, financial and
     business information and models, nlll]les ofpotential customers, proposed business transactiofis
     with third. parties, reports, plans, market projects, software programs, data mid other confidential
     and proprietary infonnation. relating to Employer or its business whether provided orally or in
     writing. All such techrtical, financial or other b~iness information thus supplied by Employer to
     Employee, qr learned by Employee in the course of his or her employment with the Employer, is
     hereinafter called the ''Information". 'The term "foformation'' as µsed herein also includes the fact
     that the Information has been made available to or is being inspected or evaluated by Employee.

            3.     Exclusions. frotn OefinitiCin. The term "Information" U$ t1sed herein d~s not
     include any data or information Which is already known to the Employee at the time of his or her
     employment.

             4.     Nondiselosure Obligation. The Employee receiving any Information shall keep
     s11ch Information confidential and shall not disclose such Information, in whole or in part, to any
     person without the e~pre~s consent of the Employer, e.ither during or !U'ier the employment of
     employee has .ended.

             5.       No1111sc Obligation. In addition to its obligation of nondisclosure hereunder, the
     Employee agrees that he or she will not, directly or indirectly, attempt to appropriate. or otherwise
     take for its or other parties' benefit the busi!less opportunity of Employer or information learned
     either <lilting or !U'ter tlie employment of Employee is ended.

             6.      Ownership; Return of Information. All Information (including tangible copies
     and computerized or electronic versions thereof) shall remain the property ofEmployer. Within
     ten (1 O) days following the receipt of a written request from Employer the Employee will deliver
     to Employer all Information received from Employer.

               7.     Applicability !() Others. The obligations of the Employee hereunder of non·
     disc lo sure and non-~e shall extend to its employee, and the heirs and f!Ulllly of Employee.



                                                    - 1-

                                                 EXHIBIT D
                                                    81
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 69 of 89 Page ID #:1059




            8.      Governing Law. This Agreement shall be governed by and construed and
     enforced in accordance with the laws of toe State of California.

             IN WITNESS WHEREOF, the parties have executed and delivered this Nondisclosure
     Agreement effective as of the date of execution by the !astparty to execute this Agreement as set
     forth below.




                                                                 Signature




                                                  ~2-


                                                EXHIBIT D
                                                   82
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 70 of 89 Page ID #:1060



                                            PROOF OF SERVICE

       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

             At the time of service, I was over 18 years of age and not a party to this action. I am
       employed in the County of Los Angeles, State of California. My business address is 700 North
       Brand Boulevard, 10th Floor, Glendale, California 91203.

               On December 10, 2014, I served true copies of the following document(s) described as
       PLAINTIFF'S FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE
       RELIEF ... ; DEMAND FOR TRIAL BY JURY on the interested parties in this action as
       follows:

       R. Scott Sokol, Esq.
       Allison L. Jones, Esq.
       GORDON & REES, LLP
       101 W. Broadway, Suite 2000
       San Diego, CA 92101
       Telephone: 619-696-6700
       Facsimile: 619-696-7124
       ssokol@gordonrees.com
       ajones@gordonrees.com
       Attorneys for Defendant, KOREY
       BOSWORTH


               BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
       persons at the addresses listed in the Service List and placed the envelope for collection and
       mailing, following our ordinary business practices. I am readily familiar with Bradley &
       Gmelich's practice for collecting and processing correspondence for mailing. On the same day
       that the correspondence is placed for collection and mailing, it is deposited in the ordinary course
       of business with the United States Postal Service, in a sealed envelope with postage fully prepaid.

              I declare under penalty of perjury under the laws of the State of California that the
       foregoing is true and correct.




                                             EXHIBIT D
                                                83
                               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 71 of 89 Page ID #:1061




                  Exhibit E             *
            Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 72 of 89 Page ID #:1062
        JOHN K. FLOCK                                                                                   SBN: 200183                           FOR COURT USE·ONLY
          BRADLEY & GMELICH
          700 N. BRAND BLVD. 10TH. FL. GLENDALE, CA 9.1203
          Attorney For:
              TELEBHONE NO.:      (818) 243-5200-        -   FAX NO. (OpHonal):   (818) 243-5266.
     E-MA!L ADDRESS (Opfional);

      Los Angeles CountySuperlorCourt-StanleyMosk                                                                                 JAJI 1B20\5
              STREET ADDRESS:     111 N. Hill St.
             MAILING ADDRESS:                                                                                                        c-~er E,xecutive Officer/Clerll
                                                                                                                          s err\R.       ~·    '
            CITY AND ZIP COPE: Los    Angeles, CA 90012                                                                                              ·,      ...... -'!!".... ~
                 BRANCH NAME: Central                                                                                        · ·' -·c·    · ''11......,,~1~1>'
   r-------------------------------4JJJ1filll'""··"" , _
       PLAINTIFF!namo eaohJ: THE PERFECT EVENT
      DEFENDANT(nameeaoh): BOSWORTH, ET AL.                                                                                  CASE NUMBER:
                                                                                                                                                   BC549408

                                                             HEARING DAIE.;              DAY:        TIME:       DEPT.:       Ref Nn, or File No.:

           PROOF OF SERVICE                                                                                                                        658-03490


  AT THE TIME OF SERVICE I WAS AT LEAST 18 YEARS OF AGE AND NOT A PARTY TO THIS ACTION, AND I SERVED
' COPIES OF THE:
      CONFORMED FIRST AMENDED COMPLAINT; NOTICE OF CASE MANAGEMENT CONFERENCE
                       PARTY SERVED:                TODD DIAMOND,. AN INDIVIDUAL
                   BY LEAVING WITH:                 "JOHN DOE" .(refused name)- CO-OCCUPANT
   DATE & TIME OF DELIVERY:                         1/8/2015
                                                    7:29 PM
 ADDRESS, CITY, AND STATE:
                                                    4114 COLLWOOD LANE
                                                    SAN DIEGO, CA 92115

       PHYSICAL DESCRIPTION:                        Age: 30                   Weight: 200                     Hair: brn
                                                    Sex: Male                 Height: 6'1''                   Eyes:
                                                    Race: Blk                                       Marks:

MANNER OF SERVICE:
    Substituted Service~ By leavlng the copies with or in the presence· of "JOHN DOE" (refused name) a competent member of the household (at
    least 18 years of age) at the dwelling house or usual place of abode of the person served. I Informed him/her of the general nature of the papers.

    A. declaration of diligence is attached.

    Thereafter the copies were mailed to th.e person served, addressed as shown In above address, by first..class mail, postage prepaid, on January
    09, 2015 from SAN DIEGO. See attached proof of service by malL




    Fee for Service: 85.00
            County: San Diego                                                                   I declare under penalty of perjury under the laws of the

 (fi
 J.
            Registration No.: 1232                                                              The State of California that the foregoing information
                                                                                                contained in the return of service and statement of

       !J
            Janney & Janney Attorney Service, Inc.
            1545 Wilshire Blvd., Suite 311                                                      service fees is true and correct and that this declaration
            Los Angeles, CA 90017                                                               was executed~n: ~Ja       fY~/:, 2015.
                                                                                                S1gnature:_\-\J.~~-'"-c=:::-=:._:=;:;;-~-====~~---
            (213) 628-6338

                                                                                                                1
                                                                                                                    1am P. Gager, Jr.

                                                                          PROOF OF SERVICE
982(a)(23)[Naw July 1, 1987)                                                                                                                               Order#: lA412151606 /Gane1al



                                                                                       EXHIBIT E
                                                                                          84
      Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 73 of 89 Page ID #:1063
LATIO RN EV DR PAR, Y WITHOUT ATTORNEY (Name, Slate Bar number, ;;ind address)             ,                                                 FOR COURT USE ONLY
 _       K. FLOCK
     JOH:~                                                                   SBN: 200183
     BRADLEY & GMELICH
     700 N- BRAND BLVD, 10TH. FL. GLENDALE, CA 91203
        -TELEPHONE NO.; (818)      243·5200     --        ------      ---FAX NO.(Optit>n11/):   (818) 243-6266   -----    --              ------       ----       ----

 E-MAIL ADDRESS (Op/Iona/).'
    ATIORNEY FOR (NMle): :

  Los Angeles County Superior Court - Stanley Mosk
         STREET ADDRESS:     111 N. Hill St.
         MAILING ADDRESS:
        CITY AND ZIP CODE:   Los Angeles, CA 90012
              BRANCH NAME: Central

         PLAINTIFF/PETITIONER: THE PERFECT EVENT                                                                         CASE NUMBER:

                                                                                                                                                 BC549408
     DEFENDANT/RESPONDENT: BOSWORTH, ET AL-
                                                                                                                         Ref, No. or Fiia No.:
                                         DECLARATION OF DILIGENCE                                                                                658-03490

     I received .the within process on December 17, 2014 and that after due and diligent effort I have not been able to
     personally serve said person. I made the following attempts on the dates and times listed below to effect personal
     service. Additional costs for diligence are recoverable under CCP §1033.5 (a)(4)(B).
                       Servee:       TODD DIAMOND, AN INDIVIDUAL
                  Documents: CONFORMED FIRST AMENDED COMPLAINT; NOTICE OF CASE MANAGEMENT
                                     CONFERENCE




     As enumerated below:
             December 21, 2014 •• 2:24 PM                           41_14 COLLWOOD LANE
                                                                    SAN DIEGO, CA 92116
                 No answer at door. No cars.
             December 24, 2014 •• 3:57 PM                           4114 COLLWOOD LANE
                                                                    SAN DIEGO, CA 92115
                 No answer at door,
             December 28, 2014 •• 6:23 PM                           4114 COLLWOOO LANE
                                                                    SAN DIEGO, CA 92115
                 No answer at door. No lights on.
             January 01, 2015 •• 7:20 AM                            4114 COLLWOOD LANE
                                                                    SAN DIEGO, CA 92115
                 No answer at door. Marked the door.
             January 04, 2015··1:13 PM                              4114 COLLWOOO LANE
                                                                    SAN DIEGO, CA 92115
                 No answer at door. Marker gone.
                                                                       Continued on Next Page




             County: San Diego                                                                  I declare under penalty of perjury under the laws of the State
             Registration No.: 12 32                                                            of CalifOmia the foregoing information contained in the
             Janney & Janney Attorney Service, Inc.                                             return of service and statement of service fees is true and
             1545 Wilshire Blvd,, Suite 311                                                     correct and that this declaration was executed on: January




                                                                                                :::·"·~I:Q ". . , , .
             Los Angeles, CA 90017
             (213) 626-6338




                                                             DECLARATION OF DILIGENCE
                                                                                                                                       Orcle r#: LA412151606 /Di1Formalmdl

                                                                                   EXHIBIT E
                                                                                      85
        Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 74 of 89 Page ID #:1064
 ATTORNEY OR PAR' IY WITHOUT ATIORNEY (N.~me, Stale Bar number, and <lddress)                    .,                                     FOR COURT USE ONLY
..    JOHN K. FLOCK                                                        SBN: 200183 ·
      BRADLEY & GMELICH
      700 N. BRAND BLVD.10TH. H .. GLEN DALE, CA 91203
          TELEPHONE NO.: (81 B)     243-5200 - -      ----      -      FAX NO,(Optlonaf): -   (818) 243-5266          ---       ----           ---           -- -

 E-MAIL ADDRESS (Optional):
    ATIORNEYFOR(Nama)~ :

     Los Angeles County Superior Court - Stanley Mosk
          SIBEETADDRESS:      111 N. Hill St.
          MA!l-ING ADDRESS:
         CITY AND ZlP CODE! Los   Angeles, CA 90012
             BRANCH NAME:     Central
          PLAINTIFF/PETITIONER: THE PERFECT EVENT                                                                   CASE f\IUMBER:

                                                                                                                                            BC549408
      DEFENDANT/RESPONDENT: BOSWORTH, ET AL.
                                                                                                                    Ref, No, or File No.:
                                         DECLARATION OF DILIGENCE                                                                           658-03490

      I received the within process on December 17, 2014 and that after due and dillgent effort I have not been able to
      personally serve said person. I made the following attempts on the dates and times listed below to effect personal
      service. Additional costs for diligence are recoverable under CCP §1033.5 .(a)(4)(B).
                      Servee: TODD DIAMOND, AN INDIVIDUAL
                  Documents: CONFORMED FIRST AMENDED COMPLAINT; NOTICE OF CASE MANAGEMENT
                             CONFERENCE



      As enumerated below:
                                                                 Continued from Previous Page
           January 08, 2015 ·- 7:29 PM                              4114 COLLWOOD LANE
                                                                    SAN DIEGO, CA 92115
                Substituted service effected by leaving with "John Doe" who lives with subject. He verified the adress and
                then went in to talk with subject, but came back out and slated that he was not home. He refused to take
                papers, therefore I announced service and placed the documents on the door.




            County: San Diego                                                                 I declare under penalty of perjury under the laws of the State
            Registration No.: 12 32                                                           of California the foregoing Information contained In the
            Janney & Janney Attorney Service, Inc.                                            return of service and statement of service fees is true and
            1545Wilshire Blvd., Suite 311                                                     correct and that this declaration was executed on: January
            Los Angeles, CA 90017                                                             09,2015atS~anDiego,California.
            (2.13) 628-6338

                                                                                              Signature:       ~----
                                                                                                               Wil iam P. Gager, Jr,

                                                            DECLARATION OF DILIGENCE
                                                                                                                                  Order#: LA4121G1606 /DilFormat.mdl


                                                                                 EXHIBIT E
                                                                                    86
        Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 75 of 89 Page ID #:1065
   /\TI'ORNEY OR.PA\:!.TY WITHOUT ATIORNEY (Name, Slate B"t number, rmd address)                                                          FOR COURT USE ONLY
  c- ·JOl-1N K. FLOCK                                                         SBN: 200103
   . BRADLEY & GMEl..ICH
     700 N. BRAND BLVD. 1OTH. FL. GLENDALE, CA 91203
         _ TELEPHONE NO.: (818)-243·5200.                                 FAX NO.(Optlonat):   -(818) 243-5266             -        - ----

   E-MAIL ADDRESS (Op/Iona/):
      ATTORNEY FOR (Nama): :

   Los Angeles County Superior Court - Stanley Mosk
          STREET ADDRESS: 111 N. Hill     St.
          MAILING ADDRt=.BS:
         CITY AND ZIP CODE:    Los Angeles, CA 90012
              BRANCli NAME: Central

          PLAINTIFF/PETITIONER: THE PERFECT EVENT                                                                     CASE NUMSER:

                                                                                                                                                 BC549408
     DEFENDANT/RESPONDENT: BOSWORTH, ET Al...

                                                                                                                      Ref, No, or Fiie No.:
                                       PROOF OF SERVICE BY MAIL                                                                                  658-03490



I am a citizen of the United States and employed in the County of Los.Angeles, State of California. I am over the age of 18 and
 not a party to the within action. My business address is 1545 Wilshire Blvd., Los Angeles, CA 90017.

On January 09, 2015, after substituted service under section CCP 415.20(a) or 415.20(b) or FRCIV.P 4(d)(1) was made, I
mailed copies of the:

         CONFORMED FIRST AMENDED COMPLAINT; NOTICE OF CASE MANAGEMENT CONFERENCE

to the defendant in said action by placing a true copy thereof enclosed in a sealed envelope, with First Class postage thereon
fully prepaid, in the United States Mall at SAN DIEGO, California, addressed as follows:

                     TODD DIAMOND, AN INDIVIDUAL

                      4114 COLLWOOD LANE
                      SAN DIEGO, CA 92115

I am readily familiar with the firm's practice for collection and processing of documents for mailing, Under that practice, it would
be deposited within the United States Postal Service, on that same day, with postage thereon fully prepaid at SAN DIEGO,
California in the ordinary course of business.




                                                                                               I declare under penalty of perjury under the laws of the
                                                                                               The State of California that the foregoing Information
                                                                                               contained In the return of service and statement of
                                                                                               seivice fees is true and correct and that this declaration
                                                                                               was execuu~139, 2015.

                                                                                               Signature: \_                       J
                                                                                                                   Wiiiiam P. Gager, Jr.


                                                                PROOF OF SERVICE BY MAIL
                                                                                                                                              Order#: l..AXXXXXXXX /mall proof


                                                                                    EXHIBIT E
                                                                                       87
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 76 of 89 Page ID #:1066




                   Exhibit F            *
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 77 of 89 Page ID #:1067




   1 Barry A. Bradley, Esq., State Bar No.125353
       bbradley@bglawyers.com
   2 John K. Flock, Esq., State Bar No. 200183
      jflock@bglawyers.com                                                    J/:\N 1 ~ 2.0\5
   3 Laura M. LeFeuvre, Esq., State Bar No. 291964
                                                                                   ( E.~eou\Ne O
                                                                                                tt\oe~C\ei\\
       LLeFeuvre@bglawyers.com
   4 BRADLEY & GMELICH                                               snani It carte '          oepuW
                                                                           B~ f\aul sancnez,
     700 North Brand Boulevard, 10t11 Floor
   5 Glendale, California 91203-1422
     Telephone:     (818) 243-5200
   6 Facsimile:     (818) 243-5266

   7 Attorneys for Plaintiff,
     THE PERFECT EVENT INC., dba EXTREME
   8 ENTERTAINMENT

   9
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
  10
                          COUNTY OF LOS ANGELES, CENTRAL DISTRICT
  11

  12
       THE PERFECT EVENT INC., a California            Case No. BC549408
  13   Corporation dab EXTREME                         (Assigned to the Hon. Robert L. Hess)
       ENTERTAINMENT,
  14                                                   NOTICE OF CONTINUANCE OF CASE
                     Plaintiff,                        MANAGEMENT CONFERENCE
  15
              vs.                                      Date:     April 14, 2015
  16                                                   Time:     8:30 a.m.
     KOREY BOSWORTH an Individual; TODD                Dept.:    24
  17 DIAMOND an Individual; THE
     NORTHWESTERN MUTUAL LIFE                          Complaint Filed:        June 20, 2014
  18 INSURANCE COMPANY, a                              Trial Date:             None Set
     Wisconsin Corporation; SUPREME GREEKS
  19 dba SD GREEK LIFE, a business entity, form
     unknown; and DOES 1 through 50, Inclusive,
  20

  21                 Defendant.

  22

  23          TOALLPARTIESANDTHEIRATTORNEYS OF RECORD:

  24          PLEASE TAKE NOTICE that the Case Management Conference came on regularly for

  25 hearing on January 12, 2014, at 8:30 a.m., in Dept. 24, before the Honorable Robert L. Hess. John

  26 Flock, Esq. appeared on behalf of Plaintiff, The Perfect Event Inc., dba Extreme Entertainment.

  27 R. Scott Sokol, Esq. appeared on behalf of defendant, Korey Bosworth. The Court continued the

  28 Case Management Conference to April 14, 2015 at 8:30 a.m., in Dept. 24 of the above-entitled
                                      EXHIBIT F
                                            88
                       NOTICE OF CONTINUANCE OF CASE MANAGEMENT CONFERENCE
         Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 78 of 89 Page ID #:1068




             1 Dated: January 13, 2015            BRADLEY & GMELICH

             2
             3
             4
             5
             6
             7                                        Attorneys for Plaintiff,
                                                      THE PERFECT EVENT lNC., dba EXTREME
             8                                        ENTERTAlNMENT

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                                              EXHIBIT F
                                                 89    2
                               NOTICE OF CONTINUANCE OF CASE MANAGEMENT CONFERENCE
           Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 79 of 89 Page ID #:1069




               1                                         PROOF OF SERVICE

               2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
               3       At the time of service, I was over 18 years of age and not a party to this action. I am
                 employed in the County of Los Angeles, State of California. My business address is 700 North
               4 Brand Boulevard, ~01J1 Floor, Glendale, California 91203.
               5         On Janu--_}2 2015, I served true copies of the following document(s) described as
                 NOTICE OF CO~TINUANCE OF CASE MANAGEMENT CONFERENCE on the
               6 interested parties in this action as follows:
               7 R. Scott Sokol, Esq.                                 Todd Diamond
                   Allison L. Jones, Esq.                             4114 Collwood Lane
               8   GORDON & REES, LLP                                 San Diego, CA 92114
                   101 W. Broadway, Suite 2000                        Defendant in pro per
               9   San Diego, CA 92101
                   Telephoue: 619-696-6700
              10   Facsimile: 619-696-7124
                   ssokol@gordonrees.com
  ~           11   ajones@gordonrees.com
  u

 ~
                   Attorneys for Defendant, KOREY
              12   BOSWORTH
0
              13
0                         BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
  Gl>--1      14 persons at the addresses listed in the Service List and placed the envelope for collection and
                   mailing, following our ordinary business practices. I am readily familiar with Bradley &
  ~
p'.:l
              15 Gmelich's practice for collecting and processing correspondence for mailing. On the same day
                   that the correspondence is placed for collection and mailing, it is deposited in the ordinary course
              16 of business with the United States Postal Service, in a sealed envelope with postage fully prepaid.
              17          I declare under penalty of perjury under the laws of the State of California that the
                   foregoing is true and correct. 7
              18
                          Executed on January 1Jo1s, at Glendale,
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28                                         EXHIBIT F
                                                            90
                                     NOTTCF. OF CONTINUANCE OF CASE MANAGEMENT CONFERENCE
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 80 of 89 Page ID #:1070




                  Exhibit G             *
          Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 81 of 89 Page ID #:1071
                                                                                                                                                     CIV-100
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                  FOR COURT USE ONLY

 ~Gary   J. Bradley, Esq., SBN 144055
   Johll K. Flock, E~SBN 200183
   BRADLEY & G              LICH
   700 N. Brand Blvd., 10th Floor
   Glendale, CA 91203
         TELEPHONE NO.: (818) 243-5200                        FAX NO. (OpUo,,/):   (818) 243-5266
  E-MAIL ADDRESS (Optional):
      ATTORNEY FOR rNameJ:       Plaintiff. The Perfect Event Inc. dba Extreme Entertainment                          CONFORMED COPY
  SUPERIOR COURT OF CALIFORNl~COUNTV OF LOS                          ANGELES                                            ORIGINAL FILED
                                                                                                                      Su~lor Court ot California
                       111 North ill Street
          sTREET AooREss:                                                                                                 ounty of Los Angeles
                       same
          MAILING ADDRESS:
      c1TYANoz1PcooE: Los An15les, CA 90012-3014
          BRANCH NAME: Central  istrict                                                                                   FEB 2 4 2015
    PLAINTIFF/PETITIONER: THE PERFECT EVENT, INC., a California
                                                                                                               Sherri R. Carter, Executive Officer/Clerk
   Corporation dba EXTREME ENTERTAINMENT
                                                                                                                    By Suzanne Wong, Deputy
  DEFENDANT/RESPONDENT:                    Korey Bosworth, et al.

                          [i] Entry of Default                             D
      REQUEST FOR
        fAnnJicationl                 D
                                Court Judament
  1. TO THE CLERK: On the complaint or cross-complaint filed
                                                             Clerk's Judgment   CASE NUMBER:
                                                                               BC549408                                              .D       Zf
    a. on {date): December 10, 2014 (First Amended Complaint)
     b. by (name): THE PERFECT EVENT, INC., a California Corporation dba EXTREME ENTERTAINMENT
     c. [i] Enter default of defendant (names): Todd Diamond (served on January 8, 2015)


     d.   D       I request a court judgment under Code of Civil Procedure sections 585(b), 585(c), 989, etc .• against defendant (names):


                  (Testimony required. Apply to the clerk for a hearing date, unless the court will enter a judgment on an affidavit under Code
                  Civ. Proc., § 585(d).)
     e.D          Enter clerk's judgment
                  (1)   D    for restitution of the premises only and issue a writ of execution on the judgment. Code of Civil Procedure section
                             1174(c) does not apply. (Code Civ. Proc.,§ 1169.)
                                  D    Include in the judgment all tenants. subtenants, named claimants, and other occupants of the premises. The
                                       Prejudgment Claim of Right to Possession was served in compliance with Code of Civil Procedure section
                                       415.46.
                  (2)   D        under Code of Civil Procedure section 585(a). (Complete the declaration under Code Civ. Proc., § 585.5 on the
                                 reverse (item 5).)
            (3)         D
                       for default previously entered on (date):
2. Judgment to be entered.                                Amount                              C[edils agknowledged                      Balance
   a. Demand of complaint ............. $                                                 $                                  $
   b. Statement of damages •
      (1) Special .................. . $                                                  $                                  $
      (2) General ... .                          $                                        $                                  $
   c. Interest ........ .             ........ $                                          $                                  $
   d. Costs (see reverse)      ............ $                                             $                                  $
   e. Attorney fees . . . . .       . ........ $                                          $                                  $
   f. TOTALS ...................... $                                                     $                                  $
                                                             --------
   g. Daily damages were demanded in complaint at the rate of: $                     per day beginning (date):
   @rsonal injury or wrongful death actions; Code Civ. Proc., § 425. 11.)
3. LJ (Check if filed in an unlawful detainer case) Legal document assistant or unlawful detainer    1 !ant information is on
       the reverse (complete item 4).
Date: February            z-7,
                        2015
John K. Flock. Esq.
                                    (TYPE OR PRINT NAME)                                             (SIGNAT RE OF PLA NTlFF OR ATTORNEY FOR PLAINTIFF)



  FOR COURT
                          (1)
                          (2)
                                          Default entered as requested on (date):
                                          Default NOT entered as requested (state reason):
                                                                                                   1.lB . ·. 4 ZOIS           -.ua:u\,~
   USE ONLY
                                                                                                  Clerk, by:                                           , Deputy
                                                                                                                                                         Page 1 of 2
Form Adopted for Mandatory Use
Judicial Council of California
                                                           REQUEST FOR ENTRY OF DEFAULT                               L~al                   Code of Civil Procedure,
CIV-100 [Rev. January 1, 2007]                                (Application to Enter Default)                      Solufigns·                       §§ 585-587, 1169
                                                                                                                      ~Plus
                                                                                   EXHIBIT G
                                                                                      91
          Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 82 of 89 Page ID #:1072
                                                                                                                                    CIV-100
                      THE PERFECT EVENT, INC., a California
          PLAINTIFF/PETIT10NER:                                                                          CASE NUMBER:

    Corporation dba EXTREME ENTERTAINMENT                                                                BC549408
DEFENDANT/RESPONDENT: Korey Bosworth, et al.


4. Legal document assistant or unlawful detainer assistant (Bus. & Prof. Code,§ 6400 et seq.). A legal document assistant
   or unlawful detainer assistant D    did     D     did not for compensation give advice or assistance with this form.
   (If declarant has received any help or advice for pay from a legal document assistant or unlawful detainer assistant, state):

     a. Assistant's name:                                                                      c.   Telephone no.:
     b. Street address, city, and zip code:                                                    d.   County of registration:
                                                                                               e.   Registration no.:
                                                                                               f.   Expires on (date):
5. [XJ Declaration under Code of Civil Procedure Section 585.5 (required for entry of default under Code Civ. Proc., § 585(a)).
        This action
   a. Dis [XJ is not on a contract or installment sale for goods or services subject to Civ. Code,§ 1801 et seq. (Unruh Act).
   b. Dis [XJ is not on a conditional sales contract subject to Civ. Code, § 2981 et seq. (Rees-Levering Motor Vehicle Sales
                           and Finance Act).
   c. D    is [XJ is not on an obligation for goods, services, loans, or extensions of credit subject to Code Civ. Proc.,§ 395(b).
6. Declaration of mailing (Code Civ. Proc., § 587). A copy of this Request for Entry of Default was
   a. D    not mailed to the following defendants, whose addresses are unknown to plaintiff or plaintiffs attorney (names):

     b.   [XJ mailed first-class, postage prepaid, in a sealed envelope addressed to each defendant's attorney of record or, if none,
                 to each defendant's last known add~et as follows:
                 (1) Mailed on (dale): Februaryef:: , 2015                   (2) To (specify names and addresses shown on the envelopes):
                                                                             Todd Diamond
                                                                             4114 Collwood Lane
                                                                             San Diego, CA 92115




7. Memorandum of costs (required if money judgment requested). Costs and disbursements are as follows (Code Civ. Proc.,§ 1033.5):
   a. Clerk's filing fees . . . . . . . . . .          $
   b. Process server's fees. . . . . . . . . . . .     $
   c. other (specify): . . . . . . . . . . . . . . . . $
   d.          ...................                     $
   e. TOTAL........                     . ............ $
   f. D      Costs and disbursements are waived.
   g. I am the attorney, agent, or party who claims these costs. To the best of my knowledge and belief this memorandum of costs is
      correct and these costs were necessarily incurred in this case.
I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date:

                                   (TYPE OR PRINT NAME)                                                  (SIGNATURE OF DECLARANTJ


8.   D      Declaration of nonmilitary status (required for a judgment). No defendant named in item 1c of the application is in the
            military service so as to be entitled to the benefits of the Servicemembers Civil Relief Act (50 U.S.C. App. § 501 et seq.).

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date:


                                 (TYPE OR PRINT NAME)                                                  {SIGNATURE OF DECLARANT)
Civ-100 [Rev. January 1, 2007]                                                                                                       Page 2 of 2
                                                          REQUEST FOR ENTRY OF DEFAULT
                                                              (Application to Enter Default)

                                                                        EXHIBIT G
                                                                           92
             Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 83 of 89 Page ID #:1073

          JOHN K. !'LOCK                                                                                                   200163                          PoR QOURT USEi'ONl. y
            BAADLEY & GMELICH
            700 N. BRAND BLVD. 10TH. FL GLENDALE, CA9.12
            Attorney P'or:
                     mEeHONE NO.: (816) 243-5200-..                  . ·-'AX NO. (DpHMS!): (818) 243-526&
      E·!M!L ADDRESS (Optional);

       Los Angele~ County Superior Court - Stanley Mosk                                                                                          JAN 1 5 20\5
                 STRm' ADORES&. 111 N. HI II St.
                 Me!UNG ADORES&.                                                                                                                  c-•er EJ<ecuUvo Ottlcer/C\Grl<
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    f----::'.BR:,:AN::.:C::.:H:.:NA:::M:::E:_:G::en:::lr:::a:_I
        PLAINTIFF(nsmooaoh): THE PERFECT EVENT
       DEFENDANT(nsmseaah): BOSWORTH, ET AL                                                                                               CASE   NUMB'ER~
                                                                                                                                                                BC549408

                                                                         Hl:ARING DA1~:                                       DEPT.:       Ref Nn, or Fil~ N1J.r
                                                                                                                                                                658-03490 .
              PROOF OF SERVICE

"AT THE TIME OP SERVICE I WAS AT LEAST 18 YEARS OF AGE AND NOT A PARTY TO 'fHIS ACTION, AND I SERVED
 COPIES OF THE:                                                                          ·
        CONFORMED FIRST AMENDED COMPLAINT; NOTICE OF' CASE MANAGEMENT CONFERENCE
                               PARTY SERVED:                      TOQD DIAMOND, AN INDIVIDUAL
                         BY LEAVING WITH:                         "JOHN DOE" .(refused name) - CO-OCCUPANT
    DATE & TIME OF DELIVERY:                                      1/8/2015
                                                                  7:29 PM
  ADDRESS, CITY, AND STATE:
                                                                  4114 CDLLWOOD LANE
                                                                  SAN DIEGO, CA 92115

         PHYSICAL DESCRIPTION:                                    Age: 30                 Weight: 200                       Hair: brn
                                                                  sex: Male               Height: 6'1"                      Eyes:
                                                                  Race: Blk                                   Marks:

 MANNER OF SERVICE:
     Substituted Servlce .. By leavlhg the copies with or in the presence· of "JOHN ODE" (refll'°ed name) ~ Qompetent member of the household (~t
     least 16 years of age) at the dwelling house or usual placEt of abode of the person served. I Informed him/her of the general nature of the papers.

     A.declaration of diligence is attached.

     Thereafter the copies were malled to 1h.e person served, addressed as shown In above address, by 11rst~class me:U, postage prepaid, on January
     09r 201fi       from SAN DIEGO. See attached µroof of service by mall.




     Fee for Service: 85.00


  rnJ.lJ     County: San Diego
             Registration No.: 1232
             Janney & Janney Attprney Service, Inc.
             1545 Wilshire Blvd., Suite 311
             Los Angeles, CA 90017
                                                                                                            I declare under penalty of perjury under the laws of the
                                                                                                            The State of California that the foregoing information
                                                                                                            contained in the return of service and statement of
                                                                                                            service fees Is true and correct and that this declaration
                                                                                                            was execute0n: ~Ja        ry~-9, 2015'. .
                                                                                                                          _J.\\~~,~-o==::::::;;;=======---­
             (213) 628-6338
                                                                                                            Slgnatur£7:
                                                                                                                                        am P. Gager, Jr.


 9B2(a)(2~)[NBW July1,        11187]
                                                                                    PROOF OF SERVICE                                                                    Orcler#: l.A412.~51606 /Gene11d




                                                                                                 EXHIBIT G
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      Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 84 of 89 Page ID #:1074

 ATTORNEY OR PAR'iYWtlHOUT ATIORNEY (Nlilm"- state fJE1rnt1mbiilt, E!nd addre~ll)                                                                FOR DDURT l.JSE DNl Y
   JOH\~ J(. FLOCK                                                             SBN: 200183
   BRADLEY & GMELICH
   700 N. aRAND BLVD, 1PTH. FL GLENDALE, CA 91203
..       -TELEPHONrno.;(818) 243-5200 ·- ..             ·---       ··--~AA   NO.(Op//rln11J);   ·-(8~8)   243-6265   ---·"    ·-···          ··---~        ·-·-          ----·
 E-MAIL ADDRESS (Dp/lonal):
    ATTORNEY FOR fNMl(l); :

     Los Angeles County Superior Court· Stanley Mask
         STR!'ETAPPR<SS: 111 N. Hill St.
         MAILING AbbRE5$:
        CITY AND ZIP CODE~   Loa Angeles-, CA 90012
            BRANCH NAMEi; Cenind

         PLAINTIFFIPETIT\ONER: TH8 PERFECT EVEl>lf                                                                           CABE NUMBER:

      DEFENDANTIRESPONOENT: BOSWORTfl,                  er AL.                                                                                       BC549408

                                                                                                                             Rar. No. or Fiie No.:
                                       DECLARATION OF DILIGENCE                                                                                      658-03490

      I received .the within process on December 17, 2014 and that after due and diligent effort I have not been able 10
      personally serve said person. I made 1he following attempts on the dates and times listed below to effect personal
      service, Additional costs for diligence are recoverable under CCP §1033.5 (a)(4)(B),
                     Servee: TODD DIAMOND, AN INDIVIDUAL
                 Documents: CONFORMED FIRST AMENDED COMPLAINT; NOTICE OF CASE MANAGEMENT
                            CONFERENCE



      As enumerated below:
          December 21, 2014 •• 2:24 Pl\11                         41,14 COLLWOOD LANE
                                                                  SAN DIEGO, CA 92116
               No answer at door, No oars.
          December 24, 2014 ·- 3:57 PM                            4114 COLLWOOD LANE
                                                                  SAN DIEGO, CA 92115
               No answer at door,
          December 28, 2014 •• 6:23 PM                             4114 COLLWOOD LANE
                                                                   SAN DIEGO, CA 92115
               No answer at door. No l[ghls on.
          January 01, 2015 •• 7:20 AM                             4114 COLLWOOD LANE
                                                                   SAN DIEGO, CA 92115
               No answer at door, Marked 1he door.
          January 04, 2015··1:13 PM                                4114 COLI.WOOD LANE
                                                                   SAN Dl\"GO, CA 92115
               No answer at door. Marker gone.
                                                                    .contlnued on Next Pag&



           County: San Diego                                                                    I declare under penalty of perjury under the laws of the State
           Registration No.: 1232                                                               of California the foregoing Information contained in the
           Janney & Janney Attorney Service, Inc,                                               return of service and statement of service fees is true and




                                                                                                                                                               .
           1545 Wilshire Blvd., Suite 311                                                       correct and that this d<iclaratlon was execu1ed on: January



                                                                                                 ::::.,~rQ·
           Los Angeles, CA 90017
           (213) 626-6338


                                                                                                                     wii1~                       Gager, Jr.

                                                           DECLARATION OF OILlGENCE
                                                                                                                                           Orcterll: LA41215160. /0l!Format.mdl




                                                                                     EXHIBIT G
                                                                                        94
        Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 85 of 89 Page ID #:1075
l.,   ATTORN~Y OR PArf1Y WITHOUTATIORNEY (N\lme,
        JOKN K. FLOCK
                                                   B/a/efl11.rnumb"t, 1:1ndaddress)      ,
                                                                                SBN: 200183
                                                                                                    ,,                                           FOR COURT UBE ONLY

        BRADLgy & GMELICH
        700 N. BRAND BLVD.10TH. FL, GLENDAL1', CA 91203
           - . TELEPHONENO,: (818) 243-5200 - ....     ---- -              Pf>X NO,(Opf/'"'i' - --(818) 243•5266 ..       ··-·       -------·           ---           --~--   ...
  E-MAILADDREBS (Opliona/};
        AlTORNE!.YFORINam9)1:
      Los Angeles County Superior Court. Stanley Mosk
            SIBEETADDRES:S: 111   N. Hl\1 Sf.
            MA\~ING ADDRESS;

           crrr ANO ZJP CODf;! Los AngeleiJ, CA 90012
               BRANCl-t NAME: Central

            PLAINTIFF/PETITIONER: THE PERFECT EVENT                                                                       CASE N:UMBJ;.'R:

       DEFENDANT/RESPONDENT; BOSWORTH, ET AL.                                                                                                        80549408

                                                                                                                          R.&f, No, <lr File ffo,:
                                         DECLARATION OF DILIGENCE                                                                                    858-03490

        I receiveid the within process on Decemller 17, 2014 end that after due and diligent effort I have not been able to
        personally serve said person. I made the following attempts on the dates and times listed below to effect personal
        service. Additional costs for diligence are recoverable under CCP §1033.5 .(a}(4)(B),
                        Servee: TODD DIAMOND, AN INDIVIDUAL
                    Documents: CONFORMED FIRST AMENDED COMPLAINT; NOTICE OF CASE MANAGEMENT
                               CONl'ERENCE



        As enumerated below:
                                                                    Continued from Previous Page
              January OB, 2015 •• 7:2-9 PM                            4114 COLLWOOD LANE
                                                         SAN DIEGO, CA 92115
                  Substituted service effected by leaving with "John Doe" who Jives with subject. He verified the adress and
                  then went In to talk wllh subject, but came back out and stated that he was not home. He refused to take
                  papers, therefore I announced servicll and placed the documents on the door,




               County: San biego                                                               I declare under penalty of perjury under the laws of the State
               Registration No ..: 1232                                                        of California the foregoing Information contained In the
               Janney & Janney Attorney Service, Inc.                                          return of service and statement of service fees is true and
               1545 Wilshire Blvd., Suite 311                                                  correct and that this declaration was executed on; January

                                                                                               "'·''''"~~
               Los Angeles, CA 90017
               (2.13) 628·6338

                                                                                               Signature:                  -
                                                                                                                      Wil iam P .                Gag-~r   , Jr ,

                                                              DECLARATION OF DILIGENCE
                                                                                                                                         Order#: LA4121$16061Di1Format.mdl




                                                                                      EXHIBIT G
                                                                                         95
        Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 86 of 89 Page ID #:1076
  ' /\TI'Oft~i:;y OR·PAl'ITY WITHOl)T ATTORNEY (Namr;, Slate B11t mlmli~. 11nd 4{:/df'fttrt)                                                              "FOR COURTUSl:30NLY
 ~  ·JOljN K. FLOCK                                                                       SBN;    Z001Bo
  . BRADLEY & GME\.ICH
     700 N, BRAND 8LVD.1 OTH. FL, GLENDALE, CA 91203
       . __ . _]J':LEPHONE NO.I   (818}..24a..B20Q_.                                 FAX NO.(Op/lona/)! .   -(818)24H266 ..            ---     .    ---··                 ..... ·-·.
   E.JM!L ADDReas (Oplkm$Q:
      ATIDRNEY FDR (Nema).' :
     Los Angeles County Superior Court· Stanley Mosk
            STREET ADDRESS: 111         N:. Hill St.
            MAILING APPR~SS!

           CITY AND ZlP OODB: Los Angel&s, CA 9t>012
                BRANC!i HM1E\ Central
            PLAINTIFF/PETITIONER: TH);; PEl'!FECT EVENT                                                                             CASE NUMl'!ER:

                                                                                                                                                                  BC549408
      DEFENDANTIRESPONDENT: BOSWORTH, ET AL.
                                                                                                                                    Rtir, ND. or Fili!! ND,:
                                              PROOF OF SERVICE BY MAIL                                                                                            658-03490



I am a citizen of the United States and employed In the County of Los.Angeles, State of California, I am over the age of 18 and
 not a party to the within action. My business address is 1545 Wilshire Blvd., Los Angeles, CA 90017.

On January 09, 2015, alter substituted service under section CCP 415.20(a) or 415.20(b) or l'RCIV.P 4(d)(1) was made, I
malled copies of the:

           CONFORMED FIRST AMENDED COMPLAINT: NOTICE OF CASE MANAGEMENT CONFERENCE
                                                                                                                                                                                                :;
                                                                                                                                                                                                i:
t" the defendant In said action by placing a true copy thereof enclosed In a sealed envelope, with First Class postage thereon
fully prepaid, In the United States Mall at SAN DIEGO, California, addressed as follows:
                                                                                                                                                                                                11
                         TODD DIAMOND, AN INDIVIDUAL

                          4114 COLLWOOD lANE                                                                                                                                                    Ii
                          SAN DIEGO, CA             9~115


1am readily familiar with the firm's practice for collection and processing •of documents for mailing, Under that practice, it would
be deposited within the United States Postal Service, on that same day, with postage thereon fully prepaid at SAN PIEGO,
California in the ordinary course of business.




   Fee for Service: 85,00
                                                                                                             I declare under penalty of perjury under the laws of the

 (JitJ          Janney Bi Janney Attorney Service, Inc.
                4891 Pacific Hwy., Suite 102
                San Diego, CA 92110
                (619) 231·9811
                                                                                                             The State of California that the foregoing Information
                                                                                                             contained In the return of service and statement of
                                                                                                             service fees Is true and correct and that this declaration
                                                                                                             was execute~on Jb79, 2015.

                                                                                                             SlgnatureJ =     \
                                                                                                                                  · ·---,.._ )
                                                                                                                                  Wllllam P. Gager, Jr.


                                                                          PROOF OF SERVICE BY MAIL
                                                                                                                                                               Order#: LA412151606 /mallproof




                                                                                                 EXHIBIT G
                                                                                                    96
Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 87 of 89 Page ID #:1077




                  Exhibit H             *
    Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 88 of 89 Page ID #:1078




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                                               BUREAU OF SECURITY AND INVESTIGATIVE SERVICES
                                                                  P 0 Box 989002
                                                          West Socrnmcnto CA 95798 9002
                                                           (916) 322-4000 (800)952 5210
                                                                              \VWW bs1s ca gov

                                      PRIVATE PATROL OPERA TOR QUALIFIED MANAGER
                                                             QUALIFYING EXPERIENCE
          (Not reqmred by Pnvate Patrol Operator appltcants who currently have a licensed Qualified Manager)
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        help that person qunhfy ror n Pnvatc P!UTDI Opemtor hccnse ll 1s a.lso mporutrtt ta lhc Bureau o( Scc:unl)' and ln.,cst1gat1vc Services (Bureau) \'lhtch
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                                                                                                                                STATE           ZIP CODE




                                                                    CONTINUED ON OTHER SIDE


                                                                                                                                                .) 1A..fl (Rtv 03/J.013)



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                                                                              EXHIBIT H
                                                                                 97
CALIFORNIA BUREAU OF SECURITY AND INVESTIGATIVE SERVICES                                                                                                         [5607480-01] 6
     Case 2:15-cv-04536-R-GJS Document 31-1 Filed 08/28/15 Page 89 of 89 Page ID #:1079




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                                                                                  EXHIBIT H
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CALIFORNIA BUREAU OF SECURITY AND INVESTIGATIVE SERVICES                                                                                                             [5607480-01] 7
